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                            EXHIBIT 3
                                                                                                               Case 1:03-md-01570-GBD-SN                                             Document 9716-3                                       Filed 04/23/24            Page 2 of 20
                                                                                                                                                                                EXHIBIT B-2
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                Personal Representative                                                   Claimant                                                                                              9/11 Decedent                                                                    Claim Information                                                  Solatium Damages




                                                                                                                               Nationality on 9/11




                                                                                                                                                                                                                     Nationality on 9/11
                                                                                                                                                                                                                                            Date of                                             Amendments &
    #   First       Middle            Last   Suffix        claimant First        Middle        claimant Last     Suffix                              decedent First        Middle    decedent Last      Suffix                                          9/11 Site       Case       Complaint                        Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                                            Death                                                Substitutions




                                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                                               77, at AP200,
1                                                     R.                    T.            A.                              Unknown                    Donald           L.            Adams                        United States 9/11/01                NY (WTC)      03-cv-9849                 8393-1, at 20, 848   Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                               1:02-cv-01616, 3,
2                                                     Dwight                D.            Adams                           Unknown                    Donald           L.            Adams                        United States 9/11/01                NY (WTC)      03-cv-9849                 at 865               Sibling                                       $    4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                                               77, at AP200,
3                                                     Heda                  K.            Adams                           Unknown                    Donald           L.            Adams                        United States 9/11/01                NY (WTC)      03-cv-9849                 8393-1, at 20, 848   Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                               1:02-cv-01616, 3,
4                                                     Robert                C.            Adams                           Unknown                    Donald           L.            Adams                        United States 9/11/01                NY (WTC)      03-cv-9849                 at 863               Parent                                        $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                               1:03-md-01570,
5                                                     Joseph                T.            Afflitto              Jr.       United States              Daniel           Thomas        Afflitto           Sr.       United States 9/11/01                NY (WTC)      03-cv-9849                 9528-1, at 1, 9532   Sibling                                       $    4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                                                                                                               1:03-md-01570,
6                                                     Joseph                T.            Afflitto              Sr.       United States              Daniel           Thomas        Afflitto           Sr.       United States 9/11/01                NY (WTC)      03-cv-9849                 9528-1, at 1, 9532   Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                               1:02-cv-01616, 1,
7                                                     Stephen                             Jezycki               Sr.       Unknown                    Margaret                       Alario                       United States 9/11/01                NY (WTC)      03-cv-9849                 at 32                Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                               1:02-cv-01616,
8                                                     Edward                              Albert                          Unknown                    Jon              L.            Albert                       United States 9/11/01                NY (WTC)      03-cv-9849                 305, at P4587        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                               1:02-cv-01616, 1,
9                                                     Jane                  Alderman      Zeitz                           Unknown                    Peter            Craig         Alderman                     United States 9/11/01                NY (WTC)      03-cv-9849                 at 21                Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                                               305, at P4106,
                                                                                                                                                                                                                                                                                               8393-1, at 22,
10                                                    E.                                  A.                              Unknown                    Edward           L.            Allegretto                   United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                                               305, at P4106,
                                                                                                                                                                                                                                                                                               8393-1, at 22,
11                                                    Louisa                              Allegretto                      Unknown                    Edward           L.            Allegretto                   United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                                               305, at P4106,
                                                                                                                                                                                                                                                                                               8393-1, at 22,
12                                                    M.                                  J.                              Unknown                    Edward           L.            Allegretto                   United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                               1:02-cv-01616, 1,
13                                                    Michael               J.            Allen                           Unknown                    Joseph           Ryan          Allen                        United States 9/11/01                NY (WTC)      03-cv-9849                 at 41                Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                               1:02-cv-01616, 1,
14                                                    Jennifer                            D'Auria                         Unknown                    Joseph           Ryan          Allen                        United States 9/11/01                NY (WTC)      03-cv-9849                 at 39                Sibling                                       $    4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                                               313, at P4588,
15                                                    H.                                  T.                              Unknown                    Tariq                          Amanullah                    United States 9/11/01                NY (WTC)      03-cv-9849                 8466-1, at 1, 8487   Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                                               313, at P4588,
16                                                    M.                                  T.                              Unknown                    Tariq                          Amanullah                    United States 9/11/01                NY (WTC)      03-cv-9849                 8466-1, at 1, 8487   Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                               1:02-cv-01616,
17                                                    Gina                  Laura         Giovanniello                    United States              Doreen           J.            Angrisani                    United States 9/11/01                NY (WTC)      03-cv-9849                 313, at P4591        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                               1:02-cv-01616,
18                                                    Margaret                            Apostol                         Unknown                    Faustino                       Apostol                      United States 9/11/01                NY (Other)    03-cv-9849                 26, 29, at 1820      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                               1:02-cv-01616,
19                                                    Ethel                               Asher                           Unknown                    Michael          Edward        Asher                        United States 9/11/01                NY (WTC)      03-cv-9849                 232, at P3589        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                               1:02-cv-01616,
                                                                                                                                                                                                                                                                                               26, 29, at 1826,
                                                                                                                                                                                                                                                                                               8393-1, at 51,
20                                                    E.                    M.            A.                              United States              Manual                         Asitimbay                    Ecuador                   9/11/01    NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                               1:02-CV-01616,
21                                                    Soultana                            Bantis                          Unknown                    Katherine                      Bantis                       United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 2603      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                               1:02-CV-01616,
                                                                                                                                                                                                                                                                                               26, 29, at 2605,
                                                                                                                                                                                                                                                                                               8393-1, at 27,
22                                                    Gerard                              Jean-Baptiste                   Unknown                    Gerard                         Baptiste                     United States 9/11/01                NY (Other)    03-cv-9849                 8487                 Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                               1:02-CV-01616,
                                                                                                                                                                                                                                                                                               26, 29, at 2608,
                                                                                                                                                                                                                                                                                               8393-1, at 85,
23                                                    S.                                  B.                              Unknown                    Walter                         Baran                        United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                               1:02-CV-01616,
                                                                                                                                                                                                                                                                                               26, 29, at 2608,
                                                                                                                                                                                                                                                                                               8393-1, at 86,
24                                                    S.                                  B.                              Unknown                    Walter                         Baran                        United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00



                                                                                                                                                                                                 Page 1 of 19
                                                                                                                  Case 1:03-md-01570-GBD-SN                                            Document 9716-3                                       Filed 04/23/24            Page 3 of 20
                                                                                                                                                                                  EXHIBIT B-2
                                                                                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                   Personal Representative                                                   Claimant                                                                                            9/11 Decedent                                                                     Claim Information                                                  Solatium Damages




                                                                                                                                  Nationality on 9/11




                                                                                                                                                                                                                       Nationality on 9/11
                                                                                                                                                                                                                                              Date of                                             Amendments &
 #         First        Middle           Last   Suffix        claimant First        Middle        claimant Last     Suffix                              decedent First        Middle    decedent Last     Suffix                                          9/11 Site       Case       Complaint                        Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                                              Death                                                Substitutions



                                                                                                                                                                                                                                                                                                 1:02-CV-01616,
25                                                       Carol                 Ann           Baran                           Unknown                    Walter                         Baran                       United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 2608      Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616, 3,
26                                                       Nicholas                            Barbaro                         United States              Paul             Vincent       Barbaro                     United States 9/11/01                NY (WTC)      03-cv-9849                 at 895               Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                             Dominican                                                                                                                                                           1:02-cv-01616,
27                                                       Marina                              Barbosa                         Republic                   Victor           Daniel        Barbosa                     United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 1832      Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616, 3,
28                                                       Maureen               Elizabeth     Barry                           United States              Diane                          Barry                       United States 9/11/01                NY (WTC)      03-cv-9849                 at 905               Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:03-md-01570,
29                                                       C.                                  B.                              United States              Maurice          V.            Barry                       United States 9/11/01                NY (Other)    03-cv-9849                 3477, at 198         Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:03-md-01570,
30                                                       J.                                  B.                              United States              Maurice          V.            Barry                       United States 9/11/01                NY (Other)    03-cv-9849                 3477, at 198         Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                                 155, at P2821,
                                                                                                                                                                                                                                                                                                 8393-1, at 55,
31                                                       Marianne              Joan          Barry                           Unknown                    Maurice          V.            Barry                       United States 9/11/01                NY (Other)    03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-CV-01616,
32                                                       Frima                               Kogan                           Unknown                    Inna                           Basin                       United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 2633      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
33                                                       Grant                 James         Bilcher                         Unknown                    Brian                          Bilcher                     United States 9/11/01                NY (Other)    03-cv-9849                 77, at P2536         Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                                 77, at P2537,
34                                                       Tina                  Marie         Bilcher                         Unknown                    Brian                          Bilcher                     United States 9/11/01                NY (Other)    03-cv-9849                 8393-1, at 7, 8487   Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
35                                                       Albert                A.            Blackman              Sr.       Unknown                    Albert           Balewa        Blackman         Jr.        United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 2675      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                                 232, at P3601,
                                                                                                                                                                                                                                                                                                 8393-1, at 14,
36                                                       Neil                                Blass                           Unknown                    Craig            Michael       Blass                       United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616, 3,
37                                                       John                                Bonomo                          Unknown                    Yvonne           L.            Bonomo                      United States 9/11/01                NY (WTC)      03-cv-9849                 at 923               Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                                 305, at AP254,
                                                                                                                                                                                                                                                                                                 5284-1, at 1,
                                                                                                                                                                                                                                                                                                 5296, 8393-1, at
38                                                       F.                    T.            B.                              United States              J.               Howard        Boulton          Jr.        Venezuela                 9/11/01    NY (WTC)      03-cv-9849                 29, 8487             Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                                 305, at AP254,
                                                                                                                                                                                                                                                                                                 5284-1, at 1,
                                                                                                                                                                                                                                                                                                 5296, 8393-1, at
39                                                       Vigdis                Vaka          Burke                           United States              J.               Howard        Boulton          Jr.        Venezuela                 9/11/01    NY (WTC)      03-cv-9849                 29, 8487             Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616, 3,
40                                                       Desiree               A.            Gerasimovich                    Unknown                    Pamela                         Boyce                       United States 9/11/01                NY (WTC)      03-cv-9849                 at 931               Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
41                                                       Erin                  G.            Bratton                         Unknown                    Michelle         Renee         Bratton                     United States 9/11/01                NY (WTC)      03-cv-9849                 232, at P3610        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
42                                                       William               J.            Bratton               III       Unknown                    Michelle         Renee         Bratton                     United States 9/11/01                NY (WTC)      03-cv-9849                 232, at P3613        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                                 432, at P4782,
                                                                                                                                                                                                                                                                                                 8393-1, at 61,
43                                                       B.                    C.            B.                              Unknown                    Nancy            Clare         Bueche                      United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                                 432, at P4782,
                                                                                                                                                                                                                                                                                                 8397-1, at 3,
                                                                                                                                                                                                                                                                                                 8433, 8393-1, at
44   Bridget       C.              Bueche                James                 T.            Bueche                          Unknown                    Nancy            Clare         Bueche                      United States 9/11/01                NY (WTC)      03-cv-9849                 61, 8487             Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                                 305, at P4150,
                                                                                                                                                                                                                                                                                                 8393-1, at 37,
45                                                       A.                                  B.                              United States              John             E.            Bulaga           Jr.        United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                                 305, at P4150,
                                                                                                                                                                                                                                                                                                 8393-1, at 37,
46                                                       R.                                  B.                              United States              John             E.            Bulaga           Jr.        United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
47                                                       Wendy                               Burlingame                      Unknown                    Charles          F.            Burlingame       III        United States 9/11/01                VA (AA77)     03-cv-9849                 305, at P4154        Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616, 1,
                                                                                                                                                                                                                                                                                                 at 100, 8393-1, at
48                                                       J.                                  C.                              Unknown                    Lillian                        Caceres                     United States 9/11/01                NY (WTC)      03-cv-9849                 49, 8487             Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616, 1,
49                                                       Julio                               Caceres                         Unknown                    Lillian                        Caceres                     United States 9/11/01                NY (WTC)      03-cv-9849                 at 100               Spouse                                        $    12,500,000.00 $   37,500,000.00



                                                                                                                                                                                                  Page 2 of 19
                                                                                                                    Case 1:03-md-01570-GBD-SN                                             Document 9716-3                                           Filed 04/23/24            Page 4 of 20
                                                                                                                                                                                     EXHIBIT B-2
                                                                                                                                                                SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                   Personal Representative                                                     Claimant                                                                                              9/11 Decedent                                                                        Claim Information                                                  Solatium Damages




                                                                                                                                   Nationality on 9/11




                                                                                                                                                                                                                              Nationality on 9/11
                                                                                                                                                                                                                                                     Date of                                             Amendments &
 #         First       Middle            Last   Suffix        claimant First          Middle        claimant Last    Suffix                              decedent First         Middle    decedent Last          Suffix                                          9/11 Site       Case       Complaint                        Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                                                     Death                                                Substitutions



                                                                                                                                                                                                                                                                                                        1:02-cv-01616, 1,
50                                                       Steven                T.              Campbell                       Unknown                    Jill             Marie          Campbell                         United States 9/11/01                NY (WTC)      03-cv-9849                 at 103               Spouse                                        $    12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                                        1:03-md-01570,
                                                                                                                                                                                                                                                                                                        432, at P5331,
51                                                       A.                    C.              P.                             Unknown                    James            C.             Cappers                          United States 9/11/01                NY (WTC)      03-cv-9849                 8466-1, at 1, 8487   Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                                        1:03-md-01570,
                                                                                                                                                                                                                                                                                                        432, at P5331,
52                                                       J.                    A.C.            P.                             Unknown                    James            C.             Cappers                          United States 9/11/01                NY (WTC)      03-cv-9849                 8466-1, at 1, 8487   Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                        1:02-cv-01616,
53                                                       Nicole                Theresa         Carey                          Unknown                    Dennis           M.             Carey                            United States 9/11/01                NY (Other)    03-cv-9849                 26, 29, at 2801      Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                        1:03-cv-9849,
                                                                                                                                                                                                                                                                                                        HAND FILED, at
                                                                                                                                                                                                                                                                                                        P5018, 8393-1, at
54                                                       Alison                Gail            Henderson                      United States              Christopher      Sean           Caton                            United States 9/11/01                NY (WTC)      03-cv-9849                 11, 8487             Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                        1:02-cv-01616, 3,
55                                                       Lakshmi                               Chalasani                      Unknown                    Swarna                          Chalasani                        United States 9/11/01                NY (WTC)      03-cv-9849                 at 984               Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                        1:02-cv-01616, 1,
                                                                                                                                                                                                                                                                                                        at 122, 8393-1, at
56                                                       Nageswararao                          Chalasani                      Unknown                    Swarna                          Chalasani                        United States 9/11/01                NY (WTC)      03-cv-9849                 79, 8487             Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                        1:02-cv-01616, 3,
57                                                       Sandhya                               Chalasani                      Unknown                    Swarna                          Chalasani                        United States 9/11/01                NY (WTC)      03-cv-9849                 at 987               Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                        1:02-cv-01616, 3,
58                                                       Sujana                                Chalasani                      Unknown                    Swarna                          Chalasani                        United States 9/11/01                NY (WTC)      03-cv-9849                 at 986               Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                         Venkateswanang                                                                                                                                                                                                                                 1:02-cv-01616, 3,
59                                                       o                                     Chalasani                      Unknown                    Swarna                          Chalasani                        United States 9/11/01                NY (WTC)      03-cv-9849                 at 985               Sibling                                       $    4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                                        232, at P3634,
60                                                       J.                                    C.                             Unknown                    Stephen          Patrick        Cherry                           United States 9/11/01                NY (WTC)      03-cv-9849                 8466-1, at 2, 8487   Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                                        232, at P3639,
                                                                                                                                                                                                                                                                                                        8397-1, at 6,
                                                                                                                              Dominican                                                                                                                                                                 8433, 8393-1, at
61   Mauricio                      Chevalier             Zeneida               Mercedes        Chevalier                      Republic                   Nestor           Julio          Chevalier          Jr.           United States 9/11/01                NY (WTC)      03-cv-9849                 61, 8487             Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                        1:02-cv-01616,
62                                                       Dylan                 Sang            Chirls                         United States              Catherine        Ellen          Chirls                           United States 9/11/01                NY (WTC)      03-cv-9849                 77, at P2564         Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                                        232, at P4050,
63                                                       C.                    E.              C.                             United States              Christopher      M.             Colasanti                        United States 9/11/01                NY (WTC)      03-cv-9849                 8466-1, at 2, 8487   Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                                        232, at P4050,
64                                                       L.                    V.              C.                             United States              Christopher      M.             Colasanti                        United States 9/11/01                NY (WTC)      03-cv-9849                 8466-1, at 2, 8487   Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                        1:02-cv-01616, 3,
65                                                       Marie                                 Colbert                        Unknown                    Michel           Paris          Colbert                          United States 9/11/01                NY (WTC)      03-cv-9849                 at 996               Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                        1:02-cv-01616,
66                                                       Eileen                                Coll                           Unknown                    Robert           Joseph         Coll               II            United States 9/11/01                NY (WTC)      03-cv-9849                 155, at P2852        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                                        432, at P4797,
                                                                                                                                                                                                                                                                                                        8393-1, at 50,
67                                                       C.                    N.              C.                             Unknown                    Linda            M.             Colon                            United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                                        432, at P4797,
                                                                                                                                                                                                                                                                                                        8393-1, at 50,
68                                                       T.                    M.              C.                             Unknown                    Linda            M.             Colon                            United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                                        432, at P4797,
                                                                                                                                                                                                                                                                                                        8393-1, at 50,
69                                                       Carlos                R.              Colon                          Unknown                    Linda            M.             Colon                            United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                                        26, 29, at 1893,
70                                                       J.                    H.              C.                             Unknown                    James            Lee            Connor                           United States 9/11/01                NY (WTC)      03-cv-9849                 8466-1, at 1, 8487   Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                                        1:02-cv-01616,
                                                                                                                                                                                                                                                                                                        26, 29, at 1893,
71                                                       J.                    P.              C.                             United States              James            Lee            Connor                           United States 9/11/01                NY (WTC)      03-cv-9849                 8466-1, at 1, 8487   Child                                         $    8,500,000.00 $    25,500,000.00




                                                                                                                                                                                                     Page 3 of 19
                                                                                                                   Case 1:03-md-01570-GBD-SN                                             Document 9716-3                                         Filed 04/23/24            Page 5 of 20
                                                                                                                                                                                 EXHIBIT B-2
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                    Personal Representative                                                   Claimant                                                                                              9/11 Decedent                                                                      Claim Information                                                  Solatium Damages




                                                                                                                                   Nationality on 9/11




                                                                                                                                                                                                                           Nationality on 9/11
                                                                                                                                                                                                                                                  Date of                                             Amendments &
 #          First       Middle            Last   Suffix        claimant First        Middle        claimant Last     Suffix                              decedent First        Middle    decedent Last       Suffix                                           9/11 Site       Case       Complaint                        Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                                                  Death                                                Substitutions



                                                                                                                                                                                                                                                                                                     1:02-cv-01616, 3,
                                                                                                                                                                                                                                                                                                     at 1006, 8466-1,
72                                                        Terence               T.            Connors                         United States              Kevin            P.            Connors                       United States 9/11/01                 NY (WTC)      03-cv-9849                 at 2, 8487           Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:03-md-01570,
73                                                        Shane                 K.            Connors                         United States              Kevin            P.            Connors                       United States 9/11/01                 NY (WTC)      03-cv-9849                 9637                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                                     26, 29, at 2896,
                                                                                                                                                                                                                                                                                                     8393-1, at 69,
74                                                        Caroline                            Cordice                         Unknown                    Robert           J.            Cordice                       United States 9/11/01                 NY (Other)    03-cv-9849                 8487                 Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                                     305, at P4211,
                                    Biermann;                                                                                                                                                                                                                                                        8393-1, at 35,
75   Janis; John    Thomas          Cullinan              Thomas                Francis       Cullinan                        Unknown                    Joan             McConnell     Cullinan                      United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
76                                                        Blaise                              Joudzevich                      Unknown                    Joan             McConnell     Cullinan                      United States 9/11/01                 NY (WTC)      03-cv-9849                 305, at P4212        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
77                                                        Mary Ann                            Curatolo                        Unknown                    Robert                         Curatolo                      United States 9/11/01                 NY (Other)    03-cv-9849                 26, 29, at 1914      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
78                                                        Louis                               Curioli                         Unknown                    Paul             Dario         Curioli                       United States 9/11/01                 NY (WTC)      03-cv-9849                 26, 29, at 2939      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
79                                                        Rupert                              Eales-White                     Unknown                    Gavin                          Cushny                        United States 9/11/01                 NY (WTC)      03-cv-9849                 232, at P4053        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                     1:03-md-01570,
80                                                        Sandra                              Dahl                            Unknown                    Jason            M.            Dahl                          United States 9/11/01                 PA (UA93)     03-cv-9849                 432, at P5336        Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                                     155, at P2868,
                                                                                                                                                                                                                                                                                                     8393-1, at 822,
81                                                        Christopher           Manuel        DaMota                          United States              Manuel           John          DaMota                        Portugal                   9/11/01    NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                            VA                                       1:02-cv-01616,
82                                                        Norris                              Davis                           United States              Ada              M.            Davis                         United States 9/11/01                 (Pentagon)    03-cv-9849                 432, at P4813        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                            VA                                       1:02-cv-01616,
83                                                        William               M.            Davis                           Unknown                    Ada              M.            Davis                         United States 9/11/01                 (Pentagon)    03-cv-9849                 432, at P4814        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                                     26, 29, at 1929,
                                                                                                                                                                                                                                                                                                     8393-1, at 13,
84                                                        J.                    M.            D.                              Unknown                    Clinton                        Davis              Sr.        United States 9/11/01                 NY (Other)    03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
85                                                        Aurora                              de la Torre                     United States              Azucena                        de la Torre                   Unknown                    9/11/01    NY (WTC)      03-cv-9849                 305, at P4216        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
86                                                        Paul                                DeAngelis                       Unknown                    Robert           J.            DeAngelis          Jr.        United States 9/11/01                 NY (WTC)      03-cv-9849                 232, at P3671        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
87                                                        Elizabeta                           Dedvukaj                        Unknown                    Simon            Marash        Dedvukaj                      United States 9/11/01                 NY (WTC)      03-cv-9849                 155, at P2870        Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                                                                                                                                                     at 179, 8393-1, at
88                                                        Gricel                G.            Zayas-Moyer                     Unknown                    Manuel                         Del Valle          Jr.        United States 9/11/01                 NY (Other)    03-cv-9849                 51, 8487             Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                                     432, at
                                                                                                                                                                                                                                                                                                     P4829,P4830,
                                                                                                                                                                                                                                                                                                     8393-1, at 384,
89                                                        C.                                  D.                              Unknown                    Francis                        Deming                        United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
90                                                        Craig                 D.            Deming                          Unknown                    Francis                        Deming                        United States 9/11/01                 NY (WTC)      03-cv-9849                 432, at P4827        Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
91                                                        Edward                              DeSimone              Jr.       Unknown                    Edward                         DeSimone           III        United States 9/11/01                 NY (WTC)      03-cv-9849                 26, 29, at 1947      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
92                                                        Arcelia                             Diaz                            Unknown                    Judith           Berquis       Diaz-Sierra                   United States 9/11/01                 NY (WTC)      03-cv-9849                 26, 29, at 1953      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616, 3,
93                                                        Edrick                              Dillard                         Unknown                    Eddie                          Dillard                       United States 9/11/01                 VA (AA77)     03-cv-9849                 at 1073              Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
94                                                        Joanna                M.            Cook                            United States              Donald           Americo       DiTullio                      United States 9/11/01                 NY (AA11)     03-cv-9849                 26, 29, at 3031      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                                     432, at P4831,
                                                                                                                                                                                                                                                            VA                                       8393-1, at 69,
95                                                        R.                    L.            D.                              Unknown                    Robert           E.            Dolan              Jr.        United States 9/11/01                 (Pentagon)    03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                                     432, at P4831,
                                                                                                                                                                                                                                                            VA                                       8393-1, at 69,
96                                                        R.                    E.            D.                              Unknown                    Robert           E.            Dolan              Jr.        United States 9/11/01                 (Pentagon)    03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                                     432, at P4831,
                                                                                                                                                                                                                                                            VA                                       8393-1, at 69,
97                                                        Lisa                  T.            Dolan                           Unknown                    Robert           E.            Dolan              Jr.        United States 9/11/01                 (Pentagon)    03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00




                                                                                                                                                                                                    Page 4 of 19
                                                                                                                   Case 1:03-md-01570-GBD-SN                                             Document 9716-3                                      Filed 04/23/24            Page 6 of 20
                                                                                                                                                                                 EXHIBIT B-2
                                                                                                                                                            SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                    Personal Representative                                                   Claimant                                                                                             9/11 Decedent                                                                    Claim Information                                                  Solatium Damages




                                                                                                                                   Nationality on 9/11




                                                                                                                                                                                                                        Nationality on 9/11
                                                                                                                                                                                                                                               Date of                                             Amendments &
 #          First       Middle            Last   Suffix        claimant First        Middle        claimant Last     Suffix                              decedent First        Middle    decedent Last     Suffix                                          9/11 Site       Case       Complaint                        Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                                               Death                                                Substitutions



                                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                                  232, at P3676,
                                                                                                                                                                                                                                                                                                  8393-1, at 30,
98    Patrice                       Kelleher              James                 T.            Donovan                         United States              Jacqueline                     Donovan                     United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                  1:02-cv-01616,
99                                                        James                               Donovan               Jr.       Unknown                    Jacqueline                     Donovan                     United States 9/11/01                NY (WTC)      03-cv-9849                 232, at P3677        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                                  232, at P3680,
                                                                                                                                                                                                                                                                                                  8393-1, at 30,
100                                                       Marion                Elaine        Donovan                         Unknown                    Jacqueline                     Donovan                     United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                                  26, 29, at 3050,
                                                                                                                                                                                                                                                                                                  8393-1, at 80,
101                                                       B.                    M.            D.                              United States              Thomas           Francis       Dowd                        United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                                  26, 29, at 3050,
                                                                                                                                                                                                                                                                                                  8393-1, at 81,
102                                                       H.                    A.            D.                              United States              Thomas           Francis       Dowd                        United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                                  26, 29, at 3050,
                                                                                                                                                                                                                                                                                                  8393-1, at 81,
103                                                       T.                    J.            D.                              United States              Thomas           Francis       Dowd                        United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                                  26, 29, at 3050,
                                                                                                                                                                                                                                                                                                  8393-1, at 80,
104                                                       Kerri                 Ann           Dowd                            Unknown                    Thomas           Francis       Dowd                        United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                  1:02-cv-01616,
105                                                       Thomas                John          Duffy                           Unknown                    Gerard           J.            Duffy                       United States 9/11/01                NY (Other)    03-cv-9849                 26, 29, at 3069      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                  1:02-cv-01616,
106                                                       Ryan                  W.            Duffy                           Unknown                    Thomas           W.            Duffy                       United States 9/11/01                NY (WTC)      03-cv-9849                 305, at AP253        Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                  1:02-cv-01616, 1,
107                                                       Rose                                Esposito                        Unknown                    Michael                        Esposito                    United States 9/11/01                NY (Other)    03-cv-9849                 at 203               Parent                                        $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                                  155, at P2890,
108                                                       Jean                  A.            Etzold                          Unknown                    Barbara                        Etzold                      United States 9/11/01                NY (WTC)      03-cv-9849                 8393-1, at 4, 8487   Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                                  232, at P3685,
                                                                                                                                                                                                                                                                                                  8393-1, at 38,
109                                                       James                 F.            Farrell                         Unknown                    John             G.            Farrell                     United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                  1:02-cv-01616,
110                                                       Marie                 A.            Farrell                         Unknown                    John             G.            Farrell                     United States 9/11/01                NY (WTC)      03-cv-9849                 232, at P3686        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                                                                                                                                                                                                  HAND FILED, at
                                                                                                                                                                                                                                                                                                  P5051, 8393-1, at
111                                                       R.                    A.            F.                              United States              Terrence         Patrick       Farrell                     United States 9/11/01                NY (Other)    03-cv-9849                 80, 8487             Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                                                                                                                                                                                                  HAND FILED, at
                                                                                                                                                                                                                                                                                                  P5051, 8393-1, at
112                                                       T.                    J.            F.                              United States              Terrence         Patrick       Farrell                     United States 9/11/01                NY (Other)    03-cv-9849                 80, 8487             Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                  1:03-cv-9849,
                                                                                                                                                                                                                                                                                                  HAND FILED, at
                                                                                                                                                                                                                                                                                                  P5051, 8393-1, at
113                                                       Helenora              M.            Farrell                         United States              Terrence         Patrick       Farrell                     United States 9/11/01                NY (Other)    03-cv-9849                 80, 8487             Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                  1:02-cv-01616,
                                                                                                                                                                                                                                                                                                  305, at P4269,
                                                                                                                                                                                                                                                                                                  8393-1, at 72,
114                                                       Janet                               Fazio                           Unknown                    Ronald           C.            Fazio             Sr.       United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                  1:02-cv-01616,
115                                                       Lauren                Marie         Fazio                           Unknown                    Ronald           C.            Fazio             Sr.       United States 9/11/01                NY (WTC)      03-cv-9849                 305, at P4272        Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                  1:02-cv-01616,
116                                                       Robert                              Fazio                           Unknown                    Ronald           C.            Fazio             Sr.       United States 9/11/01                NY (WTC)      03-cv-9849                 305, at P4270        Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                  1:02-cv-01616,
117                                                       Ronald                C.            Fazio                 Jr.       Unknown                    Ronald           C.            Fazio             Sr.       United States 9/11/01                NY (WTC)      03-cv-9849                 305, at P4271        Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                  1:02-cv-01616,
118                                                       Madeline              F.            Fiore                           Unknown                    Michael          Curtis        Fiore                       United States 9/11/01                NY (Other)    03-cv-9849                 232, at P3690        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                  1:03-cv-09849,
                                                                                                                                                                                                                                                                                                  842, at 2; 8679-1,
119                                                       Louisa                Huntington    Fisher                          United States              Bennett          Lawson        Fisher                      United States 9/11/01                NY (WTC)      03-cv-9849                 at 121, 8696         Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                         Bennett          Lawson        Fisher                                                           NY (WTC)                                 8679-1, at 121,
120                                                       Louisa                Huntington    Fisher                          United States                                                                         United States 9/11/01                              03-cv-9849                 8696                 Child                                         $    8,500,000.00 $    25,500,000.00




                                                                                                                                                                                                   Page 5 of 19
                                                                                                             Case 1:03-md-01570-GBD-SN                                            Document 9716-3                                       Filed 04/23/24            Page 7 of 20
                                                                                                                                                                          EXHIBIT B-2
                                                                                                                                                     SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
              Personal Representative                                                   Claimant                                                                                           9/11 Decedent                                                                      Claim Information                                                  Solatium Damages




                                                                                                                            Nationality on 9/11




                                                                                                                                                                                                                  Nationality on 9/11
                                                                                                                                                                                                                                         Date of                                             Amendments &
 #    First       Middle            Last   Suffix        claimant First        Middle        claimant Last    Suffix                              decedent First        Middle    decedent Last      Suffix                                          9/11 Site       Case       Complaint                        Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                                         Death                                                Substitutions



                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at AP240,
                                                                                                                                                                                                                                                                                            8393-1, at 6,
                                                                                                                                                                                                                                                                                            8487, 5284-1, at
121                                                 Susan                 Huntington    Fisher                         United States              Bennett          Lawson        Fisher                       United States 9/11/01                NY (WTC)      03-cv-9849                 5, 5296              Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            155, at P2898,
                                                                                                                                                                                                                                                                                            8393-1, at 81,
122                                                 A.                                  F.                             Unknown                    Thomas           Joseph        Fisher                       United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            155, at P2898,
                                                                                                                                                                                                                                                                                            8393-1, at 81,
123                                                 D.                                  F.                             Unknown                    Thomas           Joseph        Fisher                       United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
124                                                 Lila May              Walkden       Flounders                      Unknown                    Joseph           W.            Flounders                    United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 3179      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
125                                                 Michael                             Fodor                          Unknown                    Michael          N.            Fodor                        United States 9/11/01                NY (Other)    03-cv-9849                 26, 29, at 1971      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:03-cv-9849,
                                                                                                                                                                                 Forbes-                                                                                                    HAND FILED, at
126                                                 Dunston                             Forbes                         Unknown                    Del Rose                       Cheatham                     United States 9/11/01                NY (WTC)      03-cv-9849                 P5056                Parent                                        $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            26, 29, at 3192,
127                                                 A.                    R.            F.                             Unknown                    Robert           Joseph        Foti                         United States 9/11/01                NY (Other)    03-cv-9849                 8466-1, at 2, 8487   Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            26, 29, at 3192,
128                                                 R.                    J.            F.                             United States              Robert           Joseph        Foti                         United States 9/11/01                NY (Other)    03-cv-9849                 8466-1, at 2, 8487   Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616, 1,
129                                                 Jennifer              Gadiel        McIntyre                       Unknown                    James            Andrew        Gadiel                       United States 9/11/01                NY (WTC)      03-cv-9849                 at 229               Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at P4059,
                                                                                                                                                                                                                                                                                            8393-1, at 14,
130                                                 Regina                E.            Gallagher                      Unknown                    Daniel           James         Gallagher                    United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at AP246,
                                                                                                                                                                                                                                                                                            8393-1, at 12,
131                                                 D.                    M.            G.                             United States              Claude           Michael       Gann                         United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at AP246,
                                                                                                                                                                                                                                                                                            8393-1, at 12,
132                                                 E.                    C.            G.                             United States              Claude           Michael       Gann                         United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at AP246,
                                                                                                                                                                                                                                                                                            8393-1, at 12,
133                                                 K.                                  G.                             Unknown                    Claude           Michael       Gann                         United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:03-md-01570,
134                                                 Mark                  James         Gardner                        United States              Harvey           Joseph        Gardner           III        United States 9/11/01                NY (WTC)      03-cv-9849                 9637                 Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at P3699,
                                                                                                                                                                                                                                                                                            8393-1, at 11,
135                                                 A.                    H.            G.                             Unknown                    Christopher      S.            Gardner                      United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at P3699,
                                                                                                                                                                                                                                                                                            8393-1, at 11,
136                                                 C.                    L.            G.                             Unknown                    Christopher      S.            Gardner                      United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at P3699,
                                                                                                                                                                                                                                                                                            8393-1, at 11,
137                                                 Susan                 L.            Gardner                        Unknown                    Christopher      S.            Gardner                      United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                            1:03md-01570,
                                                                                                                                                                                                                                                                                            3477, at 1262;
                                                                                                                                                                                                                                                                                            8679-1, at 149,
138                                                 Alice                               Gary                           Unknown                    Bruce            Henry         Gary                         United States 9/11/01                NY (Other)    03-cv-9849                 8696                 Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at P4061,
                                                                                                                                                                                                                                                                                            8393-1, at 79,
139                                                 Maurizio              D.            Gazzani                        Unknown                    Terence          D.            Gazzani                      United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at P4062,
                                                                                                                                                                                                                                                                                            8393-1, at 79,
140                                                 Tracy                 M.            Gazzani                        Unknown                    Terence          D.            Gazzani                      United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Parent                                        $    8,500,000.00 $    25,500,000.00



                                                                                                                                                                                             Page 6 of 19
                                                                                                                        Case 1:03-md-01570-GBD-SN                                            Document 9716-3                                      Filed 04/23/24            Page 8 of 20
                                                                                                                                                                                        EXHIBIT B-2
                                                                                                                                                                   SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                       Personal Representative                                                     Claimant                                                                                            9/11 Decedent                                                                    Claim Information                                                 Solatium Damages




                                                                                                                                       Nationality on 9/11




                                                                                                                                                                                                                            Nationality on 9/11
                                                                                                                                                                                                                                                   Date of                                             Amendments &
 #             First        Middle             Last   Suffix        claimant First        Middle        claimant Last    Suffix                              decedent First        Middle    decedent Last     Suffix                                          9/11 Site       Case       Complaint                       Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                                                   Death                                                Substitutions



                                                                                                                                                                                                                                                                                                      1:02-cv-01616, 3,
141   Barbara          A.              Geidel                  Ralph                 William       Geidel                Sr.      Unknown                    Gary             Paul          Geidel                      United States 9/11/01                NY (Other)    03-cv-9849                 at 1157             Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
142   Philip           G.              Geyer                   Jo Ann                S.            Geyer                          Unknown                    James            G.            Geyer                       United States 9/11/01                NY (WTC)      03-cv-9849                 77, at P2598        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                                                                                                                      at 1163, 8393-1,
143                                                            E.                                  G.                             Unknown                    James                          Giberson                    United States 9/11/01                NY (Other)    03-cv-9849                 at 31, 8487         Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                                                                                                                      at 1163, 8393-1,
144                                                            K.                                  G.                             Unknown                    James                          Giberson                    United States 9/11/01                NY (Other)    03-cv-9849                 at 31, 8487         Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                                                                                                                      at 1163, 8393-1,
145                                                            S.                                  G.                             Unknown                    James                          Giberson                    United States 9/11/01                NY (Other)    03-cv-9849                 at 31, 8487         Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616, 3,
                                                                                                                                                                                                                                                                                                      at 1163, 8393-1,
146                                                            Susan                               Giberson                       Unknown                    James                          Giberson                    United States 9/11/01                NY (Other)    03-cv-9849                 at 31, 8487         Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616, 1,
147                                                            Eleanor                             Gillette                       Unknown                    Evan                           Gillette                    United States 9/11/01                NY (WTC)      03-cv-9849                 at 241              Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                                      26, 29, at 4818,
                                                                                                                                                                                                                                                                                                      8393-1, at 33,
148                                                            V.                    M.            C.                             United States              Jeffrey                        Giordano                    United States 9/11/01                NY (Other)    03-cv-9849                 8487                Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                                      26, 29, at 4818,
                                                                                                                                                                                                                                                                                                      8393-1, at 33,
149                                                            A.                    C.            G.                             United States              Jeffrey                        Giordano                    United States 9/11/01                NY (Other)    03-cv-9849                 8487                Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                                      26, 29, at 4818,
                                                                                                                                                                                                                                                                                                      8393-1, at 33,
150                                                            N.                    J.            G.                             United States              Jeffrey                        Giordano                    United States 9/11/01                NY (Other)    03-cv-9849                 8487                Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                                      26, 29, at 4818,
                                                                                                                                                                                                                                                                                                      8393-1, at 33,
151                                                            Marie                 Scotto        Giordano                       United States              Jeffrey                        Giordano                    United States 9/11/01                NY (Other)    03-cv-9849                 8487                Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                  United                                                                                                                                                              1:02-cv-01616,
152                                                            Anne                  Margaret      Policelli                      Kingdom                    Ian              J.            Gray                        United States 9/11/01                VA (AA77)     03-cv-9849                 432, at P4985       Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
153                                                            Alicia                Marie         Govia                          Unknown                    Wade             Brian         Green                       United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 1999     Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
154                                                            Amanda                Marie         Carpenter                      United States              Donald           H.            Gregory                     United States 9/11/01                NY (WTC)      03-cv-9849                 232, at P3705       Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                                      232, at P3706,
                                                                                                                                                                                                                                                                                                      8393-1, at 313,
155                                                            James                 Thomas        Gregory                        United States              Donald           H.            Gregory                     United States 9/11/01                NY (WTC)      03-cv-9849                 8487                Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
156                                                            Sara                  Elizabeth     Walling                        United States              Donald           H.            Gregory                     United States 9/11/01                NY (WTC)      03-cv-9849                 232, at P3707       Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
157                                                            Fushan                              Gu                             Unknown                    Liming                         Gu                          United States 9/11/01                NY (WTC)      03-cv-9849                 155, at P2917       Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
158                                                            Yu                    Zhou          Gu                             Unknown                    Liming                         Gu                          United States 9/11/01                NY (WTC)      03-cv-9849                 155, at P2918       Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
159                                                            Yuau                                Ku                             China                      Liming                         Gu                          United States 9/11/01                NY (WTC)      03-cv-9849                 155, at P2919       Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
160                                                            Cai                                 Zhang                          Unknown                    Liming                         Gu                          United States 9/11/01                NY (WTC)      03-cv-9849                 155, at P2920       Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                                      305, at P4303,
                                                                                                                                                                                                                                                                                                      8393-1, at 40,
161                                                            A.                    J.            G.                             United States              Jose             Antonio       Guadalupe                   United States 9/11/01                NY (Other)    03-cv-9849                 8487                Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                                      305, at P4303,
                                                                                                                                                                                                                                                                                                      8393-1, at 40,
162                                                            Elise                 S.            Guadalupe                      Unknown                    Jose             Antonio       Guadalupe                   United States 9/11/01                NY (Other)    03-cv-9849                 8487                Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
                                                                                                                                                                                                                                                                                                      155, at P2922,
                                                                                                                                                                                                                                                                                                      8393-1, at 66,
163                                                            Thomas                              Guza                           Unknown                    Philip           T.            Guza                        United States 9/11/01                NY (WTC)      03-cv-9849                 8487                Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
164                                                            George                Vassilion     Haramis                        United States              Vassilios        G.            Haramis                     United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 3367     Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
165                                                            Gloria                              Haramis                        United States              Vassilios        G.            Haramis                     United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 3366     Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                      1:02-cv-01616,
166                                                            Julia                 K.            Haramis                        United States              Vassilios        G.            Haramis                     United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 3368     Child                                         $    8,500,000.00 $    25,500,000.00



                                                                                                                                                                                                       Page 7 of 19
                                                                                                               Case 1:03-md-01570-GBD-SN                                              Document 9716-3                                          Filed 04/23/24            Page 9 of 20
                                                                                                                                                                             EXHIBIT B-2
                                                                                                                                                        SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
              Personal Representative                                                     Claimant                                                                                              9/11 Decedent                                                                        Claim Information                                                  Solatium Damages




                                                                                                                               Nationality on 9/11




                                                                                                                                                                                                                         Nationality on 9/11
                                                                                                                                                                                                                                                Date of                                             Amendments &
 #    First       Middle            Last   Suffix        claimant First          Middle        claimant Last     Suffix                              decedent First         Middle    decedent Last         Suffix                                          9/11 Site       Case       Complaint                        Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                                                Death                                                Substitutions



                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                                   313, at P4655,
                                                                                                                                                                                                                                                                                                   8393-1, at 27,
167                                                 Judith                Kay             Hardacre                        United States              Gerald                          Hardacre                        Unknown                   9/11/01    NY (UA175)    03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616, 1,
168                                                 Cynthia               M.              Casserly                        Unknown                    Harvey           L.             Harrell                         United States 9/11/01                NY (Other)    03-cv-9849                 at 884               Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
169                                                 Molly                                 Dune                            Unknown                    Harvey           L.             Harrell                         United States 9/11/01                NY (Other)    03-cv-9849                 26, 29, at 3392      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
170                                                 David                 W.              Harrell                         Unknown                    Harvey           L.             Harrell                         United States 9/11/01                NY (Other)    03-cv-9849                 26, 29, at 3391      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
171                                                 Harvey                L.              Harrell               Sr.       Unknown                    Harvey           L.             Harrell                         United States 9/11/01                NY (Other)    03-cv-9849                 26, 29, at 3389      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
172                                                 Miriam                F.              Harrell                         Unknown                    Harvey           L.             Harrell                         United States 9/11/01                NY (Other)    03-cv-9849                 26, 29, at 3390      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
173                                                 Robert                                Harris                Jr.       Unknown                    Aisha            Ann            Harris                          United States 9/11/01                NY (WTC)      03-cv-9849                 432, at P4862        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                                                                                                                   at 784, 8466-1, at
174                                                 M.                    L.              H.                              Unknown                    Edward           R.             Hennessy          Jr.           United States 9/11/01                NY (AA11)     03-cv-9849                 2, 8487              Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616, 1,
                                                                                                                                                                                                                                                                                                   at 784, 8466-1, at
175                                                 R.                    W.              H.                              Unknown                    Edward           R.             Hennessy          Jr.           United States 9/11/01                NY (AA11)     03-cv-9849                 2, 8487              Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
176                                                 Allyson                               Hepburn                         Unknown                    Robert           Allan          Hepburn                         United States 9/11/01                NY (WTC)      03-cv-9849                 77, at P2630         Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
177                                                 Jennifer                              Hepburn                         Unknown                    Robert           Allan          Hepburn                         United States 9/11/01                NY (WTC)      03-cv-9849                 77, at P2631         Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                                   77, at P2632,
                                                                                                                                                                                                                                                                                                   8393-1, at 68,
178                                                 Theresa               Lynn            Hepburn                         Unknown                    Robert           Allan          Hepburn                         United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616, 3,
179                                                 Kevin                                 Carr                            Unknown                    Mary                            Herencia                        United States 9/11/01                NY (WTC)      03-cv-9849                 at 1228              Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616, 3,
180                                                 Peter                                 Carr                            Unknown                    Mary                            Herencia                        United States 9/11/01                NY (WTC)      03-cv-9849                 at 1229              Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                                   313, at P4658,
                                                                                                                                                                                                                                                                                                   8393-1, at 82,
181                                                 C.                                    H.                              Unknown                    Timothy                         Higgins                         United States 9/11/01                NY (Other)    03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                                   313, at P4658,
                                                                                                                                                                                                                                                                                                   8393-1, at 82,
182                                                 C.                                    H.                              Unknown                    Timothy                         Higgins                         United States 9/11/01                NY (Other)    03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                                   313, at P4658,
                                                                                                                                                                                                                                                                                                   8393-1, at 82,
183                                                 C.                                    H.                              Unknown                    Timothy                         Higgins                         United States 9/11/01                NY (Other)    03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                                   313, at P4658,
                                                                                                                                                                                                                                                                                                   8393-1, at 82,
184                                                 Caren                                 Higgins                         Unknown                    Timothy                         Higgins                         United States 9/11/01                NY (Other)    03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
185                                                 Todd                  E.H.            Higley                          Unknown                    Robert           Dale Warren    Higley            II            United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 3449      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                                   305, at P4321,
                                                                                                                                                                                                                                                                                                   8393-1, at 31,
186                                                 Sheila                C.              Hobin                           United States              James            J.             Hobin                           United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616, 1,
187                                                 Gail                                  Hoffmann                        Unknown                    Frederick        Joseph         Hoffmann                        United States 9/11/01                NY (WTC)      03-cv-9849                 at 280               Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616, 1,
188                                                 Gail                                  Hoffmann                        Unknown                    Michele          Lee            Hoffmann                        United States 9/11/01                NY (WTC)      03-cv-9849                 at 283               Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
189                                                 Maria                 Y.              Aldaco                          United States              Cora             Hidalgo        Holland                         United States 9/11/01                NY (AA11)     03-cv-9849                 155, at P2934        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
190                                                 Gonzalo               A.              Hidalgo                         United States              Cora             Hidalgo        Holland                         United States 9/11/01                NY (AA11)     03-cv-9849                 155, at P2936        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
191                                                 Beaulah                               Holmes                          Unknown                    Elizabeth                       Holmes                          United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 2052      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                                   305, at P4331,
                                                                                                                                                                                                                                                                                                   8393-1, at 29,
192                                                 Karen                 L.              Homer                           Unknown                    Herbert          Wilson         Homer                           United States 9/11/01                NY (UA175)    03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
193                                                 Stephen               H.              Homer                           Unknown                    Herbert          Wilson         Homer                           United States 9/11/01                NY (UA175)    03-cv-9849                 232, at P3723        Sibling                                       $    4,250,000.00 $    12,750,000.00




                                                                                                                                                                                                Page 8 of 19
                                                                                                               Case 1:03-md-01570-GBD-SN                                               Document 9716-3                                         Filed 04/23/24            Page 10 of 20
                                                                                                                                                                                    EXHIBIT B-2
                                                                                                                                                               SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                   Personal Representative                                                   Claimant                                                                                              9/11 Decedent                                                                      Claim Information                                                  Solatium Damages




                                                                                                                                  Nationality on 9/11




                                                                                                                                                                                                                         Nationality on 9/11
                                                                                                                                                                                                                                                 Date of                                             Amendments &
 #         First       Middle            Last   Suffix        claimant First        Middle         claimant Last    Suffix                              decedent First        Middle     decedent Last      Suffix                                           9/11 Site       Case       Complaint                        Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                                                 Death                                                Substitutions



                                                                                                                                                                                                                                                                                                    1:02-cv-01616,
194                                                      William               T.            Homer                           Unknown                    Herbert          Wilson        Homer                         United States 9/11/01                 NY (UA175)    03-cv-9849                 232, at P3724        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                    1:02-cv-01616,
195                                                      Winifred              M.            Homer                           Unknown                    Herbert          Wilson        Homer                         United States 9/11/01                 NY (UA175)    03-cv-9849                 232, at P3725        Parent                                        $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                                    1:03-md-01570,
196                                                      James                 Lawrence      Hopper                          United States              James            P.            Hopper                        United States 9/11/01                 NY (WTC)      03-cv-9849                 9528-1, at 1, 9532   Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                                    26, 29, at 3469,
                                                                                                                                                                                                                                                                                                    8393-1, at 55,
197                                                      Emily                               Howell                          Unknown                    Michael          C.            Howell                        United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                    1:02-cv-01616,
198                                                      Kevin                 M.            Howell                          Unknown                    Michael          C.            Howell                        United States 9/11/01                 NY (WTC)      03-cv-9849                 26, 29, at 3470      Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                    1:02-cv-01616,
199                                                      Alice                               Ill                             Unknown                    Frederick        J.            Ill                Jr.        United States 9/11/01                 NY (Other)    03-cv-9849                 26, 29, at 3490      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                                    305, at P4335,
                                                                                                                                                                                                                                                                                                    8393-1, at 24,
200                                                      Lauri                 T.            Isbrandtsen                     United States              Erik             Hans          Isbrandtsen                   United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                                    232, at P3735,
                                                                                                                                                                                                                                                                                                    8393-1, at 85,
201                                                      Barry                               Jablonski                       Unknown                    Virginia         May           Jablonski                     United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                    1:02-cv-01616,
202                                                      Harry                 T.            Jones                 IV        Unknown                    Allison          H.            Jones                         United States 9/11/01                 NY (WTC)      03-cv-9849                 26, 29, at 3508      Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                                                                                                                                    HAND FILED, at
203                                                      John                  C.            Jordan                          United States              Andrew           B.            Jordan                        Unknown                    9/11/01    NY (Other)    03-cv-9849                 P5100                Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                    1:02-cv-01616,
204                                                      Miriam                              Juarbe                          Unknown                    Angel            L.            Juarbe             Jr.        United States 9/11/01                 NY (Other)    03-cv-9849                 305, at P4345        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                                    26, 29, at 2103,
                                                                                                                                                                                                                                                                                                    8397-1, at 10,
205   Edward                       Flanders              Patricia              E.            Flanders                        United States              Vincent          Dominick      Kane               Jr.        United States 9/11/01                 NY (Other)    03-cv-9849                 8433                 Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                                    26, 29, at 3517,
                                                                                                                                                                                                                                                                                                    8393-1, at 17,
206                                                      E.                    L.            K.                              United States              Deborah          H.            Kaplan                        United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                                    26, 29, at 3517,
                                                                                                                                                                                                                                                                                                    8393-1, at 17,
207                                                      J.                    I.            K.                              United States              Deborah          H.            Kaplan                        United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                                    26, 29, at 3517,
                                                                                                                                                                                                                                                                                                    8393-1, at 17,
208                                                      M.                    S.            K.                              United States              Deborah          H.            Kaplan                        United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                    1:02-cv-01616,
                                                                                                                                                                                                                                                                                                    26, 29, at 3517,
                                                                                                                                                                                                                                                                                                    8393-1, at 17,
209                                                      S.                    A.            K.                              United States              Deborah          H.            Kaplan                        United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                    1:02-cv-01616,
210                                                      Harold                T.            Kaplan                          Unknown                    Deborah          H.            Kaplan                        United States 9/11/01                 NY (WTC)      03-cv-9849                 26, 29, at 3517      Spouse                                        $    12,500,000.00 $   37,500,000.00

                                                                                                                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                                                                                                                                    HAND FILED, at
                                                                                                                                                                                                                                                                                                    P5108, 1:02-cv-
                                                                                                                                                                                                                                                                                                    01616, 1, at 363,
211                                                      Laureen                             Kasper                          Unknown                    Charles          L.            Kasper                        United States 9/11/01                 NY (Other)    03-cv-9849                 8393-1, at 9, 8487   Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                    1:02-cv-01616,
212                                                      Richard               Matthew       Keane                           United States              Richard          Michael       Keane                         United States 9/11/01                 NY (WTC)      03-cv-9849                 305, at P4353        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                    1:02-cv-01616,
213                                                      Robert                F.            Keane                           Unknown                    Richard          Michael       Keane                         United States 9/11/01                 NY (WTC)      03-cv-9849                 305, at P4355        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                    1:02-cv-01616,
214                                                      Leo                   R.            Keene                 II        Unknown                    Leo              Russell       Keene              III        United States 9/11/01                 NY (WTC)      03-cv-9849                 155, at P2966        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                    1:02-cv-01616, 3,
                                                                                                                                                                                                                                                                                                    at 1292, 8393-1,
215                                                      Carolyn                             Kelly                           Unknown                    Richard          J.            Kelly              Jr.        United States 9/11/01                 NY (Other)    03-cv-9849                 at 68, 8487          Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                    1:03-cv-9849,
                                                                                                                                                                                                                                                                                                    HAND FILED, at
                                                                                                                                                                                                                                                                                                    P5117, 8393-1, at
216                                                      Hedi                  N.            Kershaw                         Unknown                    Ralph            Francis       Kershaw                       United States 9/11/01                 NY (UA175)    03-cv-9849                 66, 8487             Spouse                                        $    12,500,000.00 $   37,500,000.00




                                                                                                                                                                                                   Page 9 of 19
                                                                                                          Case 1:03-md-01570-GBD-SN                                               Document 9716-3                                       Filed 04/23/24            Page 11 of 20
                                                                                                                                                                              EXHIBIT B-2
                                                                                                                                                         SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
              Personal Representative                                                    Claimant                                                                                            9/11 Decedent                                                                     Claim Information                                                  Solatium Damages




                                                                                                                            Nationality on 9/11




                                                                                                                                                                                                                  Nationality on 9/11
                                                                                                                                                                                                                                          Date of                                             Amendments &
 #    First       Middle            Last   Suffix        claimant First         Middle        claimant Last   Suffix                              decedent First         Middle    decedent Last     Suffix                                           9/11 Site       Case       Complaint                        Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                                          Death                                                Substitutions



                                                                                                                                                                                                                                                                                             1:18-cv-11582, 1,
                                                                                                                                                                                                                                                                                             at 12; 8679-1, at
217                                                 John                  David          Ketler                        United States              Ruth             Ellen          Ketler                      United States 9/11/01                 NY (WTC)      03-cv-9849                 227, 8696            Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                                             232, at P3755,
                                                                                                                                                                                                                                                                                             8393-1, at 25,
218                                                 C.                    A.             K.                            United States              Frank            J.             Koestner                    United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                                                                                                                                                                                             HAND FILED, at
219                                                 Maria                                Koestner                      Unknown                    Frank            J.             Koestner                    United States 9/11/01                 NY (WTC)      03-cv-9849                 P5127                Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                                                                                                                                                                                             HAND FILED, at
220                                                 Julianna              M.             Lanzer                        Unknown                    Frank            J.             Koestner                    United States 9/11/01                 NY (WTC)      03-cv-9849                 P5128                Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                             1:02-cv-01616,
221                                                 Lois                  H.             Kumpel                        Unknown                    Kenneth          B.             Kumpel                      United States 9/11/01                 NY (Other)    03-cv-9849                 26, 29, at 3573      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                             1:02-cv-01616,
222                                                 Kristen                              Kuveikis                      Unknown                    Thomas           J.             Kuveikis                    United States 9/11/01                 NY (Other)    03-cv-9849                 26, 29, at 3575      Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                                                                                                                                                                                             HAND FILED, at
223                                                 Samuel                J.             Laforte                       Unknown                    Michael                         LaForte                     United States 9/11/01                 NY (WTC)      03-cv-9849                 P5139                Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                                             432, at P4876,
                                                                                                                                                                                                                                                                                             8393-1, at 54,
224                                                 Joseph                P.             Langley                       United States              Mary             Lou            Langley                     United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Sibling                                       $    4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                                             305, at P4383,
225                                                 Jungmi                Suh            Lee                           United States              Dong             Chul           Lee                         Korea                      9/11/01    VA (AA77)     03-cv-9849                 8393-1, at 20, 848   Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                             1:02-cv-01616, 3,
226                                                 John                  E.             Johnson                       Unknown                    Juanita                         Lee                         United States 9/11/01                 NY (WTC)      03-cv-9849                 at 1342              Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                             1:02-cv-01616, 1,
                                                                                                                                                                                                                                                                                             at 338, 8393-1, at
227                                                 Edward                N.             Lee                           Unknown                    Juanita                         Lee                         United States 9/11/01                 NY (WTC)      03-cv-9849                 44, 8487             Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                             1:02-cv-01616, 1,
                                                                                                                                                                                                                                                                                             at 340, 8393-1, at
228                                                 Johnny                               Lee                           Unknown                    Lorraine                        Lee                         United States 9/11/01                 NY (WTC)      03-cv-9849                 50, 8487             Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                                             313, at P4684,
                                                                                                                                                                                                                                                                                             8393-1, at 23,
229                                                 L.                    E.             L.                            United States              Eric             Andrew         Lehrfeld                    United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                                             313, at P4684,
                                                                                                                                                                                                                                                                                             8393-1, at 23,
230                                                 Hayley                Natalie        Lehrfeld                      Unknown                    Eric             Andrew         Lehrfeld                    United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                                             432, at P4883,
                                                                                                                                                                                                                                                                                             8393-1, at 41,
231                                                 G.                                   L.                            Unknown                    Joseph           A.             Lenihan                     United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                             1:02-cv-01616,
232                                                 J.                                   L.                            Unknown                    Joseph           A.             Lenihan                     United States 9/11/01                 NY (WTC)      03-cv-9849                 432, at P4883        Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                             1:02-cv-01616,
233                                                 M.                                   L.                            Unknown                    Joseph           A.             Lenihan                     United States 9/11/01                 NY (WTC)      03-cv-9849                 432, at P4883        Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                                             313, at P4685,
                                                                                                                                                                                                                                                                                             8393-1, at 38,
234                                                 C.                                   L.                            Unknown                    John             J.             Lennon            Jr.       United States 9/11/01                 NY (Other)    03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                                             313, at P4685,
                                                                                                                                                                                                                                                                                             8393-1, at 38,
235                                                 K.                                   L.                            Unknown                    John             J.             Lennon            Jr.       United States 9/11/01                 NY (Other)    03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                             1:02-cv-01616,
236                                                 John                                 Lennon                        Unknown                    John             J.             Lennon            Jr.       United States 9/11/01                 NY (Other)    03-cv-9849                 313, at P4686        Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                             1:02-cv-01616,
237                                                 Melissa                              Lennon                        Unknown                    John             J.             Lennon            Jr.       United States 9/11/01                 NY (Other)    03-cv-9849                 313, at P4687        Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                                             313, at P4685,
                                                                                                                                                                                                                                                                                             8393-1, at 38,
238                                                 Patricia                             Lennon                        Unknown                    John             J.             Lennon            Jr.       United States 9/11/01                 NY (Other)    03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                             1:03-md-01570,
239                                                 Stephanie                            Giglio                        United States              Robert                          Levine                      United States 9/11/01                 NY (WTC)      03-cv-9849                 3477, at 2067        Child                                         $    8,500,000.00 $    25,500,000.00




                                                                                                                                                                                             Page 10 of 19
                                                                                                         Case 1:03-md-01570-GBD-SN                                              Document 9716-3                                      Filed 04/23/24            Page 12 of 20
                                                                                                                                                                         EXHIBIT B-2
                                                                                                                                                    SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
              Personal Representative                                                   Claimant                                                                                         9/11 Decedent                                                                      Claim Information                                                  Solatium Damages




                                                                                                                           Nationality on 9/11




                                                                                                                                                                                                               Nationality on 9/11
                                                                                                                                                                                                                                       Date of                                             Amendments &
 #    First       Middle            Last   Suffix        claimant First        Middle        claimant Last   Suffix                              decedent First        Middle    decedent Last    Suffix                                           9/11 Site       Case       Complaint                        Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                                       Death                                                Substitutions



                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          26, 29, at 3639,
                                                                                                                                                                                                                                                                                          8393-1, at 13,
240                                                 J.                    C.            L.                            Unknown                    Craig            Damian        Lilore                     United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                          1:03-cv-9849,
                                                                                                                                                                                                                                                                                          HAND FILED, at
                                                                                                                                                                                                                                                                                          P5150, 8393-1, at
241                                                 D.                                  L.                            Unknown                    Nickie                         Lindo                      United States 9/11/01                 NY (WTC)      03-cv-9849                 61, 8487             Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                          1:03-cv-9849,
                                                                                                                                                                                                                                                                                          HAND FILED, at
                                                                                                                                                                                                                                                                                          P5150, 8393-1, at
242                                                 Deryck                D.            Lindo                         Unknown                    Nickie                         Lindo                      United States 9/11/01                 NY (WTC)      03-cv-9849                 61, 8487             Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                          1:03-cv-9849,
                                                                                                                                                                                                                                                                                          HAND FILED, at
243                                                 Duryel                              Lindo                         Unknown                    Nickie                         Lindo                      United States 9/11/01                 NY (WTC)      03-cv-9849                 P5151                Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616, 1,
                                                                                                                                                                                                                                                                                          at 346, 8393-1, at
244                                                 Eugenia               Reyes         Llanes                        Unknown                    George           Andrew        Llanes                     United States 9/11/01                 NY (WTC)      03-cv-9849                 27, 8487             Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
245                                                 Jorge                               Llanes                        Unknown                    George           Andrew        Llanes                     United States 9/11/01                 NY (WTC)      03-cv-9849                 232, at P3790        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                 VA                                       1:02-cv-01616, 3,
246                                                 David                 B.            Long                          Unknown                    Stephen          V.            Long                       United States 9/11/01                 (Pentagon)    03-cv-9849                 at 1362              Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                 VA                                       1:02-cv-01616, 3,
247                                                 Sandra                S.            Weaver                        Unknown                    Stephen          V.            Long                       United States 9/11/01                 (Pentagon)    03-cv-9849                 at 1361              Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          26, 29, at 2458,
                                                                                                                                                                                                                                                                                          8393-1, at 78,
248                                                 E.                    S.            L.                            United States              Stuart           Seid          Louis                      United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          26, 29, at 2458,
                                                                                                                                                                                                                                                                                          8393-1, at 78,
249                                                 K.                    L.            L.                            United States              Stuart           Seid          Louis                      United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
250                                                 Sharon                              Louis                         United States              Stuart           Seid          Louis                      United States 9/11/01                 NY (WTC)      03-cv-9849                 26, 29, at 2458      Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
251                                                 Eileen                Duffell       Lugano                        United States              Sean             Thomas        Lugano                     United States 9/11/01                 NY (WTC)      03-cv-9849                 26, 29, at 3665      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          232, at P3811,
                                                                                                                                                                                                                                                 VA                                       8393-1, at 79,
252                                                 Jacqueline            E.            Lynch                         United States              Terence          M.            Lynch                      United States 9/11/01                 (Pentagon)    03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          232, at P3813,
                                                                                                                                                                                                                                                                                          8393-1, at 69,
253                                                 Kenneth               J.            Mace                          Unknown                    Robert           Francis       Mace                       United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Sibling                                       $    4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                           United                                                                         26, 29, at 2155,
254                                                 Caileigh              Ward          Maddison                      United States              Simon                          Maddison                   Kingdom                    9/11/01    NY (WTC)      03-cv-9849                 8466-1, at 3, 8487   Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                           United                                                                         26, 29, at 2155,
255                                                 Kyle                  Ridge         Maddison                      United States              Simon                          Maddison                   Kingdom                    9/11/01    NY (WTC)      03-cv-9849                 8466-1, at 3, 8487   Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                           United                                                                         26, 29, at 2155,
256                                                 Sydney                Marguerite    Maddison                      United States              Simon                          Maddison                   Kingdom                    9/11/01    NY (WTC)      03-cv-9849                 8466-1, at 3, 8487   Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          26, 29, at 3705,
257                                                 D.                    M.            M.                            Unknown                    William          James         Mahoney          Jr.       United States 9/11/01                 NY (Other)    03-cv-9849                 8466-1, at 1, 8487   Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          26, 29, at 3705,
258                                                 J.                    J.            M.                            Unknown                    William          James         Mahoney          Jr.       United States 9/11/01                 NY (Other)    03-cv-9849                 8466-1, at 1, 8487   Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          26, 29, at 3705,
259                                                 S.                    E.            M.                            Unknown                    William          James         Mahoney          Jr.       United States 9/11/01                 NY (Other)    03-cv-9849                 8466-1, at 1, 8487   Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          26, 29, at 3705,
260                                                 W.                    J.            M.                            Unknown                    William          James         Mahoney          Jr.       United States 9/11/01                 NY (Other)    03-cv-9849                 8466-1, at 1, 8487   Child                                         $    8,500,000.00 $    25,500,000.00



                                                                                                                                                                                          Page 11 of 19
                                                                                                                Case 1:03-md-01570-GBD-SN                                              Document 9716-3                                       Filed 04/23/24           Page 13 of 20
                                                                                                                                                                                EXHIBIT B-2
                                                                                                                                                           SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                     Personal Representative                                                   Claimant                                                                                           9/11 Decedent                                                                    Claim Information                                                  Solatium Damages




                                                                                                                                  Nationality on 9/11




                                                                                                                                                                                                                       Nationality on 9/11
                                                                                                                                                                                                                                              Date of                                             Amendments &
 #           First       Middle            Last   Suffix        claimant First        Middle        claimant Last   Suffix                              decedent First        Middle    decedent Last     Suffix                                          9/11 Site       Case       Complaint                        Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                                              Death                                                Substitutions



                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                                 432, at P4888,
                                                                                                                                                                                                                                                                                                 8393-1, at 42,
261                                                        J.                    E.            M.                            Unknown                    Joseph           Edward        Maloney                     United States 9/11/01                NY (Other)    03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                                 432, at P4888,
                                                                                                                                                                                                                                                                                                 8393-1, at 42,
262                                                        M.                    K.            M.                            United States              Joseph           Edward        Maloney                     United States 9/11/01                NY (Other)    03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                                 432, at P4888,
                                                                                                                                                                                                                                                                                                 8393-1, at 42,
263                                                        Kathleen                            Maloney                       Unknown                    Joseph           Edward        Maloney                     United States 9/11/01                NY (Other)    03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616, 3,
                                                                                                                                                                                                                                                                                                 at 1403, 8393-1,
264                                                        Ashley                Marie         Mannetta                      United States              Debra            M.            Mannetta                    United States 9/11/01                NY (WTC)      03-cv-9849                 at 275, 8487         Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616, 3,
                                                                                                                                                                                                                                                                                                 at 1403, 8393-1,
265                                                        Jessica               Ann           Mannetta                      United States              Debra            M.            Mannetta                    United States 9/11/01                NY (WTC)      03-cv-9849                 at 274, 8487         Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616, 3,
266                                                        Kenneth               R.            Mannetta                      Unknown                    Debra            M.            Mannetta                    United States 9/11/01                NY (WTC)      03-cv-9849                 at 1403              Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616, 1,
                                                                                                                                                                                                                                                                                                 at 887, 8466-1, at
267                                                        C.                                  D.                            Unknown                    Vita                           Marino                      United States 9/11/01                NY (WTC)      03-cv-9849                 1, 8487              Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616, 1,
                                                                                                                                                                                                                                                                                                 at 887, 8466-1, at
268                                                        M.                                  D.                            Unknown                    Vita                           Marino                      United States 9/11/01                NY (WTC)      03-cv-9849                 1, 8487              Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616, 1,
                                                                                                                                                                                                                                                                                                 at 887, 5284-1, at
269                                                        Jonathan              Karel         Dodge                         Unknown                    Vita                           Marino                      United States 9/11/01                NY (WTC)      03-cv-9849                 7, 5296              Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616, 3,
                                                                                                                                                                                                                                                                                                 at 1413, 8393-1,
270                                                        M.                                  R.                            Unknown                    Jose                           Marrero                     United States 9/11/01                NY (WTC)      03-cv-9849                 at 40, 8487          Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                                 305, at P4404,
                                                                                                                                                                                                                                                                                                 8393-1, at 37,
271                                                        J.                    M.            M.                            Unknown                    John             Daniel        Marshall                    United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                                 305, at P4404,
                                                                                                                                                                                                                                                                                                 8393-1, at 37,
272                                                        P.                                  M.                            Unknown                    John             Daniel        Marshall                    United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
273                                                        Jeanette              A.            Marshall                      Unknown                    John             Daniel        Marshall                    United States 9/11/01                NY (WTC)      03-cv-9849                 305, at P4405        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                                 305, at P4404,
                                                                                                                                                                                                                                                                                                 8393-1, at 37,
274                                                        Lori                  T.            Marshall                      Unknown                    John             Daniel        Marshall                    United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
275                                                        Doreen                E.            Rowland                       Unknown                    John             Daniel        Marshall                    United States 9/11/01                NY (WTC)      03-cv-9849                 313, at P4692        Sibling                                       $    4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                                 155, at P3023,
276                                                        Luis                                Gaston                        Unknown                    Betsy                          Martinez                    United States 9/11/01                NY (WTC)      03-cv-9849                 8393-1, at 6, 8487   Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                                 26, 29, at 3751,
                                                                                                                                                                                                                                                                                                 8393-1, at 64,
277                                                        D.                    N.            M.                            United States              Paul             Richard       Martini                     United States 9/11/01                NY (Other)    03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
                                                                                                                                                                                                                                                                                                 305, at P4408,
                                                                                                                                                                                                                                                                                                 8393-1, at 42,
278                                                        R.                                  M.                            Unknown                    Joseph                         Mathai                      United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
279                                                        Marguerite                          Mattson                       Unknown                    Robert           D.            Mattson                     United States 9/11/01                NY (WTC)      03-cv-9849                 77, at P2661         Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
280                                                        William               G.            Mattson                       Unknown                    Robert           D.            Mattson                     United States 9/11/01                NY (WTC)      03-cv-9849                 77, at P2662         Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616, 3,
                                                                                                                                                                                                                                                                                                 at 1435, 8397-1,
281   Vertistine     Beaman          Mbaya                 Njue                  W.            Mbaya                         Unknown                    Kaaria           William       Mbaya                       United States 9/11/01                NY (WTC)      03-cv-9849                 at 18, 8433          Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616,
282   Patricia                       McKenna               Agnes                 Jane          McKenna                       Unknown                    Stephanie        Marie         McKenna                     United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 3860      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                 1:02-cv-01616, 3,
283                                                        Joseph                              McWilliams                    Unknown                    Martin           Edward        McWilliams                  United States 9/11/01                NY (Other)    03-cv-9849                 at 1443              Sibling                                       $    4,250,000.00 $    12,750,000.00




                                                                                                                                                                                                  Page 12 of 19
                                                                                                                  Case 1:03-md-01570-GBD-SN                                              Document 9716-3                                       Filed 04/23/24           Page 14 of 20
                                                                                                                                                                                  EXHIBIT B-2
                                                                                                                                                             SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                      Personal Representative                                                    Claimant                                                                                           9/11 Decedent                                                                    Claim Information                                                  Solatium Damages




                                                                                                                                    Nationality on 9/11




                                                                                                                                                                                                                         Nationality on 9/11
                                                                                                                                                                                                                                                Date of                                             Amendments &
 #            First         Middle          Last    Suffix        claimant First        Middle        claimant Last   Suffix                              decedent First        Middle    decedent Last     Suffix                                          9/11 Site       Case       Complaint                        Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                                                Death                                                Substitutions



                                                                                                                                                                                                                                                                                                   1:02-cv-01616, 3,
284                                                          Mary                                McWilliams                    United States              Martin           Edward        McWilliams                  United States 9/11/01                NY (Other)    03-cv-9849                 at 1442              Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
285                                                          A.                                  M.                            Unknown                    Abigail          Cales         Medina                      United States 9/11/01                NY (WTC)      03-cv-9849                 432, at P4890        Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                                   432, at P4890,
286                                                          Eli                                 Medina                        United States              Abigail          Cales         Medina                      United States 9/11/01                NY (WTC)      03-cv-9849                 8393-1, at 1, 8487   Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
287                                                          Enid                                Medina                        Unknown                    Abigail          Cales         Medina                      United States 9/11/01                NY (WTC)      03-cv-9849                 432, at P4891        Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                                   232, at P4075,
288                                                          Barbara                             Merdinger                     Unknown                    Alan                           Merdinger                   United States 9/11/01                NY (WTC)      03-cv-9849                 8393-1, at 1, 8487   Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                                   232, at P3847,
                                                                                                                                                                                                                                                                                                   8393-1, at 58,
289                                                          Betty                 Ann           Miller                        Unknown                    Michael          Matthew       Miller                      United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                                   232, at P3848,
                                                                                                                                                                                                                                                                                                   8393-1, at 59,
290                                                          James                 H.            Miller                        Unknown                    Michael          Matthew       Miller                      United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616, 3,
                                                                                                                                                                                                                                                                                                   at 1465, 8393-1,
291                                                          B.                                  M.                            United States              Benjamin                       Millman                     United States 9/11/01                NY (WTC)      03-cv-9849                 at 5, 8487           Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616, 3,
                                                                                                                                                                                                                                                                                                   at 1465, 8393-1,
292                                                          M.                                  M.                            United States              Benjamin                       Millman                     United States 9/11/01                NY (WTC)      03-cv-9849                 at 5, 8487           Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616, 3,
293                                                          Toby                                Millman                       Unknown                    Benjamin                       Millman                     United States 9/11/01                NY (WTC)      03-cv-9849                 at 1465              Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                                   305, at P4436,
                                                                                                                                                                                                                                                                                                   8393-1, at 34,
294                                                          H.                    Q.            M.                            China                      Jeffrey          P.            Mladenik                    United States 9/11/01                NY (AA11)     03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                                   26, 29, at 3933,
                                                                                                                                                                                                                                                                                                   8393-1, at 18,
295                                                          A.                    C.            M.                            Unknown                    Dennis                         Mojica                      United States 9/11/01                NY (Other)    03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                                   26, 29, at 3936,
                                                                                                                                                                                                                                                                                                   8393-1, at 44,
296                                                          M.                    L.            M.                            Unknown                    Justin           John          Molisani          Jr.       United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
297                                                          Jodi                  Ann           Molisani                      Unknown                    Justin           John          Molisani          Jr.       United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 3936      Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                   1:03-md-01570,
                                                                                                                                                                                                                                                                                                   3477, at 2518;
                                                                                                                                                                                                                                                                                                   8679-1, at 328,
298                                                          George                R.            Montesi                       Unknown                    Michael          G.            Montesi                     United States 9/11/01                NY (Other)    03-cv-9849                 8696                 Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                          Michael          G.            Montesi                                                          NY (Other)                               8679-1, at 328,
299                                                          George                R.            Montesi                       Unknown                                                                               United States 9/11/01                              03-cv-9849                 8696                 Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
300                                                          Margaret              P.            Montesi                       Unknown                    Michael          G.            Montesi                     United States 9/11/01                NY (Other)    03-cv-9849                 155, at P3035        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
301                                                          Karina                              Cannon                        Unknown                    Sharon                         Moore                       United States 9/11/01                NY (WTC)      03-cv-9849                 432, at P4898        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616, 3,
                                                                                                                                                                                                                                                                                                   at 1481, 8397-1,
302   Nancy           Jeanne          Mulligan               Thomas                John          Mulligan                      United States              Peter            James         Mulligan                    United States 9/11/01                NY (WTC)      03-cv-9849                 at 20, 8433          Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                                   77, at P2673,
                                                                                                                                                                                                                                                                                                   8393-1, at 66,
303                                                          Zandra                Lena          Neblett                       Unknown                    Rayman           Marcus        Neblett                     United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
                                                                                                                                                                                                                                                                                                   313, at P4698,
                                                                                                                                                                                                                                                                                                   8393-1, at 67,
304                                                          M.                    C.            N.                            Unknown                    Renee            Tetreault     Newell                      United States 9/11/01                NY (AA11)     03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
305                                                          Lillian               C.            Tetreault                     Unknown                    Renee            Tetreault     Newell                      United States 9/11/01                NY (AA11)     03-cv-9849                 155, at P3050        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
306   Carol           Ann             Niedermeyer            Alfonse                             Niedermeyer                   United States              Alfonse          J.            Niedermeyer                 United States 9/11/01                NY (Other)    03-cv-9849                 155, at P3052        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                   1:02-cv-01616,
307                                                          Everett               Joseph        McGarry                       Unknown                    Katherine        McGarry       Noack                       United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 4028      Parent                                        $    8,500,000.00 $    25,500,000.00




                                                                                                                                                                                                    Page 13 of 19
                                                                                                                          Case 1:03-md-01570-GBD-SN                                              Document 9716-3                                       Filed 04/23/24            Page 15 of 20
                                                                                                                                                                                           EXHIBIT B-2
                                                                                                                                                                      SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                      Personal Representative                                                          Claimant                                                                                             9/11 Decedent                                                                     Claim Information                                                  Solatium Damages




                                                                                                                                            Nationality on 9/11




                                                                                                                                                                                                                                 Nationality on 9/11
                                                                                                                                                                                                                                                         Date of                                             Amendments &
 #          First           Middle          Last        Suffix        claimant First          Middle          claimant Last   Suffix                              decedent First        Middle    decedent Last     Suffix                                           9/11 Site       Case       Complaint                        Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                                                         Death                                                Substitutions



                                                                                                                                                                                                                                                                                                            1:03-md-01570,
308                                                              Esther                R.              Barbuto                         Unknown                    Philip           Paul          Ognibene                    United States 9/11/01                 NY (WTC)      03-cv-9849                 3477, at 2673        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                            1:02-cv-01616, 1,
      Anna; Esther;                   Ruess; Barbuto;                                                                                                                                                                                                                                                       at 424, 8397-1, at
309   Blaise          M.; R.; J.      Ognibene                   Antoinette            D.              Ognibene                        Unknown                    Philip           Paul          Ognibene                    United States 9/11/01                 NY (WTC)      03-cv-9849                 21, 8433             Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                            1:03-md-01570,
310                                                              Blaise                J.              Ognibene                        Unknown                    Philip           Paul          Ognibene                    United States 9/11/01                 NY (WTC)      03-cv-9849                 3477, at 2673        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                            1:03-md-01570,
311                                                              Anna                  M.              Ruess                           Unknown                    Philip           Paul          Ognibene                    United States 9/11/01                 NY (WTC)      03-cv-9849                 3477, at 2673        Sibling                                       $    4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                                            26, 29, at 4069,
312                                                              T.                                    O.                              Unknown                    Patrick          Joseph        O'Keefe                     United States 9/11/01                 NY (Other)    03-cv-9849                 8466-1, at 3, 8487   Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                                            26, 29, at 4069,
                                                                                                                                                                                                                                                                                                            8393-1, at 62,
313                                                              Karen                 Lisa            O'Keefe                         Unknown                    Patrick          Joseph        O'Keefe                     United States 9/11/01                 NY (Other)    03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
314                                                              Conrad                S.              Olender                         Unknown                    Christine                      Olender                     United States 9/11/01                 NY (WTC)      03-cv-9849                 432, at P4915        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
315                                                              Therese                               Winters                         Unknown                    Christine                      Olender                     United States 9/11/01                 NY (WTC)      03-cv-9849                 432, at P4916        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
316                                                              Gae                                   Ferruolo                        Unknown                    Jane             Marie         Orth                        United States 9/11/01                 NY (AA11)     03-cv-9849                 26, 29, at 4095      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
317                                                              Agatina                               Iaci                            Unknown                    Jane             Marie         Orth                        United States 9/11/01                 NY (AA11)     03-cv-9849                 26, 29, at 4094      Parent                                        $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                                            26, 29, at 4098,
318                                                              J.                                    O.                              Unknown                    Pablo                          Ortiz                       United States 9/11/01                 NY (Other)    03-cv-9849                 8466-1, at 3, 8487   Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                                            26, 29, at 4098,
319                                                              J.                                    O.                              Unknown                    Pablo                          Ortiz                       United States 9/11/01                 NY (Other)    03-cv-9849                 8466-1, at 3, 8487   Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
320                                                              Stephen               V.              Ostrowski                       United States              James            Robert        Ostrowski                   Unknown                    9/11/01    NY (WTC)      03-cv-9849                 26, 29, at 2243      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                            1:03-md-01570,
321                                                              Ryan                                  Pacheco                         Unknown                    Roland                         Pacheco                     United States 9/11/01                 NY (WTC)      03-cv-9849                 432, at P5423        Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
322                                                              Jonathan              S.              Packer                          Unknown                    Michael          B.            Packer                      United States 9/11/01                 NY (WTC)      03-cv-9849                 232, at P3878        Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                   VA                                       1:02-cv-01616,
323                                                              Juana                 B.              Borrero                         Unknown                    Diana            B.            Padro                       United States 9/11/01                 (Pentagon)    03-cv-9849                 155, at P3057        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                   VA                                       1:02-cv-01616,
324                                                              Myriam                                Borrero                         United States              Diana            B.            Padro                       United States 9/11/01                 (Pentagon)    03-cv-9849                 155, at P3059        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                       United                                                                                                                                                               1:02-cv-01616,
325                                                              Manoj                                 Parmar                          Kingdom                    Hashmukhrai      C.            Parmar                      United States 9/11/01                 NY (WTC)      03-cv-9849                 313, at AP269        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                            1:03-cv-9849,
                                                                                                                                       United                                                                                                                                                               HAND FILED, at
326                                                              Revakuvar                             Parmar                          Kingdom                    Hashmukhrai      C.            Parmar                      United States 9/11/01                 NY (WTC)      03-cv-9849                 AP924                Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
327                                                              Sandra                                Passananti                      Unknown                    Horace           Robert        Passananti                  United States 9/11/01                 NY (WTC)      03-cv-9849                 232, at P3892        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                                            305, at P4471,
                                                                                                                                                                                                                                                                                                            8393-1, at 76,
328                                                              Bobbie                Catherine       Peak                            Unknown                    Stacey           Lynn          Peak                        United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
329                                                              Michael               R.              Peak                            Unknown                    Stacey           Lynn          Peak                        United States 9/11/01                 NY (WTC)      03-cv-9849                 305, at P4473        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
330                                                              Phillip                               Peak                            Unknown                    Stacey           Lynn          Peak                        United States 9/11/01                 NY (WTC)      03-cv-9849                 305, at P4472        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
331                                                              Toni                                  Peak                            Unknown                    Stacey           Lynn          Peak                        United States 9/11/01                 NY (WTC)      03-cv-9849                 305, at P4475        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
332                                                              Judy                  Peak            Rhodes                          Unknown                    Stacey           Lynn          Peak                        United States 9/11/01                 NY (WTC)      03-cv-9849                 305, at P4474        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
333                                                              Anne                                  Pedicini                        Unknown                    Thomas                         Pedicini                    United States 9/11/01                 NY (WTC)      03-cv-9849                 305, at P4479        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
334                                                              Mariela                               Flores                          Unknown                    Angel                          Perez             Jr.       United States 9/11/01                 NY (WTC)      03-cv-9849                 432, at P4923        Sibling                                       $    4,250,000.00 $    12,750,000.00

                                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                                            432, at P4921,
335                                                              Carmen                                Rodriguez                       Unknown                    Angel                          Perez             Jr.       United States 9/11/01                 NY (WTC)      03-cv-9849                 8393-1, at 3, 8487   Parent                                        $    8,500,000.00 $    25,500,000.00




                                                                                                                                                                                                            Page 14 of 19
                                                                                                         Case 1:03-md-01570-GBD-SN                                               Document 9716-3                                        Filed 04/23/24           Page 16 of 20
                                                                                                                                                                           EXHIBIT B-2
                                                                                                                                                      SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
              Personal Representative                                                   Claimant                                                                                            9/11 Decedent                                                                     Claim Information                                                  Solatium Damages




                                                                                                                            Nationality on 9/11




                                                                                                                                                                                                                  Nationality on 9/11
                                                                                                                                                                                                                                         Date of                                             Amendments &
 #    First       Middle            Last   Suffix        claimant First        Middle        claimant Last    Suffix                              decedent First        Middle    decedent Last      Suffix                                          9/11 Site       Case       Complaint                        Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                                         Death                                                Substitutions




                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at P3896,
336                                                 G.                                  B.                             Unknown                    Angela           Susan         Perez                        United States 9/11/01                NY (WTC)      03-cv-9849                 8393-1, at 3, 8494   Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at P3896,
337                                                 J.                                  B.                             Unknown                    Angela           Susan         Perez                        United States 9/11/01                NY (WTC)      03-cv-9849                 8393-1, at 3, 8494   Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at P3896,
338                                                 K.                                  B.                             Unknown                    Angela           Susan         Perez                        United States 9/11/01                NY (WTC)      03-cv-9849                 8393-1, at 3, 8494   Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:03-md-01570,
                                                                                                                                                                                                                                                                                            602, at P5497,
                                                                                                                                                                                                                                                                                            8393-1, at 58,
339                                                 Lynn                  Ann           Pescherine                     United States              Michael          John          Pescherine                   United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                            1:15-cv-009903,
340                                                 Ryan                  Michael       Pescherine                     United States              Michael          John          Pescherine                   United States 9/11/01                NY                                       676, at 14           Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
341                                                 Norman                              Peterson                       Unknown                    Davin            N.            Peterson                     United States 9/11/01                NY (WTC)      03-cv-9849                 232, at P3897        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
342                                                 Antimo                              Petti                          United States              Philip           Scott         Petti                        United States 9/11/01                NY (Other)    03-cv-9849                 305, at P4485        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616, 1,
                                                                                                                                                                                                                                                                                            at 461, 8466-1, at
343                                                 A.                                  P.                             Unknown                    Ludwig           John          Picarro                      United States 9/11/01                NY (WTC)      03-cv-9849                 3, 8487              Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616, 1,
                                                                                                                                                                                                                                                                                            at 461, 8466-1, at
344                                                 M.                                  P.                             Unknown                    Ludwig           John          Picarro                      United States 9/11/01                NY (WTC)      03-cv-9849                 3, 8487              Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
345                                                 Dorothy               A.            Ancona                         Unknown                    Susan                          Pinto                        United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 4151      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at P3899,
                                                                                                                                                                                                                                                                                            8393-1, at 38,
346                                                 Laura                 A.            Grygotis                       Unknown                    John             M.            Pocher                       United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616, 1,
347                                                 Mary                  E.            Griffin                        Unknown                    Everett          M.            Proctor           III        United States 9/11/01                NY (WTC)      03-cv-9849                 at 470               Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616, 1,
348                                                 Catherine             B.            Proctor                        Unknown                    Everett          M.            Proctor           III        United States 9/11/01                NY (WTC)      03-cv-9849                 at 471               Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616, 1,
349                                                 Everett                             Proctor              Jr.       Unknown                    Everett          M.            Proctor           III        United States 9/11/01                NY (WTC)      03-cv-9849                 at 469               Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            26, 29, at 4185,
                                                                                                                                                                                                                                                                                            8393-1, at 16,
350                                                 C.                    C.            P.                             Unknown                    David            L.            Pruim                        United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            26, 29, at 4185,
                                                                                                                                                                                                                                                                                            8393-1, at 16,
351                                                 Kathryn               S.            Pruim                          Unknown                    David            L.            Pruim                        United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616, 1,
352                                                 William                             Wilson                         Unknown                    Patricia         Ann           Puma                         United States 9/11/01                NY (WTC)      03-cv-9849                 at 484               Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            305, at P4494,
                                                                                                                                                                                                                                                                                            8393-1, at 84,
353                                                 Thankachan                          Raju                           Unknown                    Valsa                          Raju                         United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            313, at P4715,
                                                                                                                                                                                                                                                                                            8393-1, at 28,
354                                                 A.                    G.            R.                             Unknown                    Harry                          Ramos                        United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            313, at P4715,
                                                                                                                                                                                                                                                                                            8393-1, at 28,
355                                                 E.                    H.            R.                             Unknown                    Harry                          Ramos                        United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            313, at P4715,
                                                                                                                                                                                                                                                                                            8393-1, at 28,
356                                                 Migdalia                            Ramos                          Unknown                    Harry                          Ramos                        United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at P3921,
                                                                                                                                                                                                                                                                                            8393-1, at 40,
357                                                 K.                    B.            R.                             Unknown                    Jonathan                       Randall                      United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00




                                                                                                                                                                                            Page 15 of 19
                                                                                                                   Case 1:03-md-01570-GBD-SN                                              Document 9716-3                                       Filed 04/23/24            Page 17 of 20
                                                                                                                                                                                    EXHIBIT B-2
                                                                                                                                                               SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                      Personal Representative                                                     Claimant                                                                                           9/11 Decedent                                                                     Claim Information                                                  Solatium Damages




                                                                                                                                     Nationality on 9/11




                                                                                                                                                                                                                          Nationality on 9/11
                                                                                                                                                                                                                                                  Date of                                             Amendments &
 #            First        Middle           Last   Suffix        claimant First          Middle        claimant Last   Suffix                              decedent First        Middle    decedent Last     Suffix                                           9/11 Site       Case       Complaint                        Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                                                  Death                                                Substitutions




                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                            VA                                       313, at P4716,
358                                                         M.                                    R.                            Unknown                    Marsha                         Ratchford                   United States 9/11/01                 (Pentagon)    03-cv-9849                 8466-1, at 3, 8487   Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                            VA                                       1:02-cv-01616,
359                                                         Roosevelt                             Stallworth           Sr.      Unknown                    Marsha                         Ratchford                   United States 9/11/01                 (Pentagon)    03-cv-9849                 155, at P3073        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                                     232, at P3928,
                                                                                                                                                                                                                                                                                                     8393-1, at 73,
360                                                         Jo Ann                R.              Riccio                        Unknown                    Rudolph          N.            Riccio                      United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
361                                                         Karen                 E.              Roberts                       Unknown                    Michael          Edward        Roberts                     United States 9/11/01                 NY (Other)    03-cv-9849                 26, 29, at 2310      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                     1:03-md-01570,
362                                                         S.                                    G.                            Unknown                    Gregory          E.            Rodriguez                   United States 9/11/01                 NY (WTC)      03-cv-9849                 3477, at 3120        Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                                     26, 29, at 2321,
                                                                                                                                                                                                                                                                                                     8393-1, at 52,
363                                                         A.                    H.              R.                            Unknown                    Mark             H.            Rosen                       United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                                     26, 29, at 2321,
                                                                                                                                                                                                                                                                                                     8393-1, at 52,
364                                                         B.                    M.              R.                            Unknown                    Mark             H.            Rosen                       United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                                     26, 29, at 2321,
                                                                                                                                                                                                                                                                                                     8393-1, at 52,
365                                                         M.                    E.              R.                            Unknown                    Mark             H.            Rosen                       United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                                     232, at P3936,
                                                                                                                                                                                                                                                                                                     8393-1, at 43,
366   Helen           K.              Rosenthal             Avram                                 Rosenthal                     Unknown                    Joshua           Alan          Rosenthal                   United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
367                                                         Peter                 A.              Rossomando                    United States              Nicholas         Peter         Rossomando                  United States 9/11/01                 NY (Other)    03-cv-9849                 26, 29, at 4319      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
368                                                         Clifford                              Russell              Sr.      United States              Stephen          P.            Russell                     United States 9/11/01                 NY (Other)    03-cv-9849                 232, at P4943        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                                     26, 29, at 2323,
                                                                                                                                                                                                                                                                                                     8393-1, at 86,
369                                                         Arthur                                Russo                         Unknown                    Wayne            A.            Russo                       United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                                     26, 29, at 4338,
                                                                                                                                                                                                                                                                                                     8393-1, at 80,
370                                                         J.                    E.              S.                            United States              Thomas           E.            Sabella                     United States 9/11/01                 NY (Other)    03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                                     26, 29, at 4338,
                                                                                                                                                                                                                                                                                                     8393-1, at 80,
371                                                         N.                    J.              S.                            United States              Thomas           E.            Sabella                     United States 9/11/01                 NY (Other)    03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
372                                                         Frank                 Carl            Sadocha                       United States              Francis          John          Sadocha                     United States 9/11/01                 NY (WTC)      03-cv-9849                 305, at P4508        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
373                                                         Jose                  Luis            San Pio                       Unknown                    Sylvia                         San Pio                     United States 9/11/01                 NY (WTC)      03-cv-9849                 26, 29, at 4356      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
374                                                         Jesus                 Sanchez         Rosado                        Unknown                    Jesus                          Sanchez                     United States 9/11/01                 NY (UA175)    03-cv-9849                 313, at P4728        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
375                                                         Lauren                J.              Osnato                        Unknown                    Karen            Helene        Schmidt                     United States 9/11/01                 NY (WTC)      03-cv-9849                 26, 29, at 2342      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
376                                                         Karl                  H.              Schmidt                       Unknown                    Karen            Helene        Schmidt                     United States 9/11/01                 NY (WTC)      03-cv-9849                 26, 29, at 2341      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
377                                                         Nancy                                 Schwartz                      Unknown                    Mark                           Schwartz                    United States 9/11/01                 NY (Other)    03-cv-9849                 313, at P4731        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                                                                                                                                                                                     at 563, 8393-1, at
378                                                         A.                    J.S.            R.                            United States              Howard                         Selwyn                      United States 9/11/01                 NY (WTC)      03-cv-9849                 29, 8487             Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616, 1,
                                                                                                                                United                                                                                                                                                               at 563, 8397-1, at
379   Barry; James                    Winter                Frances               Ruth            Selwyn                        Kingdom                    Howard                         Selwyn                      United States 9/11/01                 NY (WTC)      03-cv-9849                 25, 8433             Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616, 3,
380                                                         Avigdor                               Shwartzstein                  United States              Allan            Abraham       Shwartzstein                Unknown                    9/11/01    NY (WTC)      03-cv-9849                 at 1639              Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
381                                                         Kathleen              H.              Simmons                       Unknown                    Bruce            E.            Simmons                     United States 9/11/01                 NY (WTC)      03-cv-9849                 26, 29, at 2363      Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                     1:02-cv-01616,
                                                                                                                                                                                                                                                                                                     232, at P4086,
                                                                                                                                                                                                                                                                                                     8393-1, at 66,
382                                                         R.                                    S.                            Unknown                    Peter            A.            Siracuse                    United States 9/11/01                 NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00



                                                                                                                                                                                                     Page 16 of 19
                                                                                                                       Case 1:03-md-01570-GBD-SN                                               Document 9716-3                                          Filed 04/23/24            Page 18 of 20
                                                                                                                                                                                        EXHIBIT B-2
                                                                                                                                                                   SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
                      Personal Representative                                                         Claimant                                                                                             9/11 Decedent                                                                       Claim Information                                                  Solatium Damages




                                                                                                                                         Nationality on 9/11




                                                                                                                                                                                                                                  Nationality on 9/11
                                                                                                                                                                                                                                                          Date of                                             Amendments &
 #            First          Middle            Last    Suffix        claimant First          Middle        claimant Last   Suffix                              decedent First         Middle    decedent Last       Suffix                                            9/11 Site       Case       Complaint                        Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                                                          Death                                                Substitutions



                                                                                                                                                                                                                                                                                                             1:02-cv-01616,
383                                                             Loretta               T.              Slavin                        United States              Vincent          R.             Slavin                        Unknown                     9/11/01    NY (WTC)      03-cv-9849                 305, at P4528        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                                                             77, at P2735,
                                                                                                                                                                                                                                                                                                             8397-1, at 28,
384   Leonard                         Vollkommer                Christine                             Vollkommer                    United States              Robert           W.             Spear              Jr.        United States 9/11/01                  NY (Other)    03-cv-9849                 8433                 Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616,
385                                                             Florence                              Wittner                       Unknown                    Craig            William        Staub                         United States 9/11/01                  NY (WTC)      03-cv-9849                 305, at P4544        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616,
386                                                             Elizabeth                             Stewart                       Ireland                    Michael          James          Stewart                       United States 9/11/01                  NY (WTC)      03-cv-9849                 232, at P3963        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                             1:03-md-01570,
387                                                             Z.                    S.              S.                            United States              Douglas          J.             Stone                         United States 9/11/01                  NY (AA11)     03-cv-9849                 3477, at 3469        Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616, 3,
                                                                                                                                                                                                                                                                                                             at 1682, 8466-1,
388                                                             H.                    C.              S.                            Unknown                    George                          Strauch                       United States 9/11/01                  NY (WTC)      03-cv-9849                 at 1, 8487           Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616, 3,
389                                                             Virginia                              Strauch                       United States              George                          Strauch                       United States 9/11/01                  NY (WTC)      03-cv-9849                 at 1682              Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                    VA                                       1:02-cv-01616,
390                                                             Lee                                   Strickland                    Unknown                    Larry            Lee            Strickland                    United States 9/11/01                  (Pentagon)    03-cv-9849                 155, at P3105        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                    VA                                       1:02-cv-01616,
391                                                             Olga                  C.              Strickland                    Unknown                    Larry            Lee            Strickland                    United States 9/11/01                  (Pentagon)    03-cv-9849                 155, at P3106        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                                                             26, 29, at 4476,
                                                                                                                                                                                                                                                                                                             8393-1, at 87,
392                                                             Angela                                Suarez                        Unknown                    Benjamin                        Suarez                        United States 9/11/01                  NY (Other)    03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                                                                                                                                                                                                             HAND FILED, at
                                                                                                                                                                                                                                                                                                             P5279, 8393-1, at
393                                                             Noreen                                Supinski                      Unknown                    Colleen          M.             Supinski                      United States 9/11/01                  NY (WTC)      03-cv-9849                 13, 8487             Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                                                                                                                                                                                                             HAND FILED, at
                                                                                                                                                                                                                                                                                                             P5278, 8393-1, at
394                                                             Steven                A.              Supinski                      Unknown                    Colleen          M.             Supinski                      United States 9/11/01                  NY (WTC)      03-cv-9849                 13, 8487             Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616,
395                                                             Robert                                Sutcliffe            Sr.      Unknown                    Robert           E.             Sutcliffe          Jr.        United States 9/11/01                  NY (WTC)      03-cv-9849                 232, at P3969        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616, 1,
396                                                             Maureen                               Pickering                     Unknown                    Joann                           Tabeek                        United States 9/11/01                  NY (WTC)      03-cv-9849                 at 607               Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616,
397   Severino        Rogan           Tamayo          Jr.       Severino              Yabut           Tamayo               Sr.      United States              Hector           R.             Tamayo                        United States 9/11/01                  NY (WTC)      03-cv-9849                 232, at P3974        Parent                                        $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                                                             232, at P3980,
398                                                             Sarah                                 Taylor                        Unknown                    Donnie           B.             Taylor             Sr.        United States 9/11/01                  NY (WTC)      03-cv-9849                 8393-1, at 20, 848   Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616,
399                                                             Ana                   Maria           Tempesta                      United States              Anthony                         Tempesta                      United States 9/11/01                  NY (WTC)      03-cv-9849                 26, 29, at 2389      Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                                                             26, 29, at 2395,
                                                                                                                                                                                                                                                                                                             8393-1, at 20,
400                                                             Louis                                 Temple                        Unknown                    Dorothy          Pearl          Temple                        United States 9/11/01                  NY (WTC)      03-cv-9849                 8487                 Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616,
401   Jason           Reed            Tieste                    Ronald                Bruce           Tieste                        United States              William          R.             Tieste                        United States 9/11/01                  NY (WTC)      03-cv-9849                 305, at P4552        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616,
402                                                             Timothy               J.              Tighe                         United States              Stephen          Edward         Tighe                         United States 9/11/01                  NY (WTC)      03-cv-9849                 26, 29, at 2399      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616,
403                                                             Lisa                                  Kennedy                       United States              Michael          Ernest         Tinley                        United States 9/11/01                  NY (WTC)      03-cv-9849                 305, at P4553        Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616,
404                                                             Jenna                 Tinley          Mather                        United States              Michael          Ernest         Tinley                        United States 9/11/01                  NY (WTC)      03-cv-9849                 305, at P4554        Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616,
405                                                             Betty                                 Andrade                       Unknown                    Michael          A.             Trinidad                      United States 9/11/01                NY (WTC)        03-cv-9849                 26, 29, at 4578      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                  VA                                         1:15-cv-09903,
406                                                             Jasmyn                A.              Troy                          Panama                     Willie           Quincy         Troy                          United States                9/11/01 (Pentagon)      03-cv-9849                 683, at 3            Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                             1:03-cv-9849,
                                                                                                                                                                                                                                                                                                             HAND FILED, at
407                                                             Harvey                                Blomberg                      Unknown                    Jonathan                        Uman                          United States 9/11/01                  NY (Other)    03-cv-9849                 P5292                Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616,
408                                                             Marcella              T.              Veling                        Unknown                    Lawrence         Gerard         Veling                        United States 9/11/01                  NY (WTC)      03-cv-9849                 313, at P4756        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616,
409                                                             Marion                Rita            Paolo                         Unknown                    Loretta          A.             Vero                          United States 9/11/01                  NY (WTC)      03-cv-9849                 26, 29, at 2414      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                                             1:02-cv-01616,
                                                                                                                                                                                                                                                                                                             305, at P4562,
                                                                                                                                                                                                                                                                                                             8393-1, at 32,
410                                                             C.                                    W.                            Unknown                    James                           Walsh                         United States 9/11/01                  NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00




                                                                                                                                                                                                            Page 17 of 19
                                                                                                         Case 1:03-md-01570-GBD-SN                                               Document 9716-3                                        Filed 04/23/24           Page 19 of 20
                                                                                                                                                                           EXHIBIT B-2
                                                                                                                                                      SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
              Personal Representative                                                   Claimant                                                                                           9/11 Decedent                                                                      Claim Information                                                  Solatium Damages




                                                                                                                            Nationality on 9/11




                                                                                                                                                                                                                  Nationality on 9/11
                                                                                                                                                                                                                                         Date of                                             Amendments &
 #    First       Middle            Last   Suffix        claimant First        Middle        claimant Last    Suffix                              decedent First        Middle    decedent Last      Suffix                                          9/11 Site       Case       Complaint                        Relationship   Documentation   Prior Award         Amount            Treble
                                                                                                                                                                                                                                         Death                                                Substitutions



                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            305, at P4562,
                                                                                                                                                                                                                                                                                            8393-1, at 32,
411                                                 F.                                  W.                             Unknown                    James                          Walsh                        United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            305, at P4562,
                                                                                                                                                                                                                                                                                            8393-1, at 32,
412                                                 Kate                  Louise        Walsh Calton                   Unknown                    James                          Walsh                        United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Spouse                                        $    12,500,000.00 $   37,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
413                                                 Zhenjie                             Wang                           Unknown                    Weibin                         Wang                         United States 9/11/01                NY (WTC)      03-cv-9849                 305, at P4564        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
414                                                 Kathryn               Ward          Hazel                          Unknown                    Stephen          Gordon        Ward                         United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 4664      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
415                                                 Victoria                            Randall                        Unknown                    Stephen          Gordon        Ward                         United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 4662      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
416                                                 Kenneth               R.            Ward                           Unknown                    Stephen          Gordon        Ward                         United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 4663      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            26, 29, at 2423,
                                                                                                                                                                                                                                                                                            8393-1, at 19,
417                                                 J.                    C.            A.                             Unknown                    Derrick          Christopher   Washington                   United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
418                                                 Earnest                             Washington           Jr.       Unknown                    Derrick          Christopher   Washington                   United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 2421      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            305, at P4569,
                                                                                                                                                                                                                                                                                            8393-1, at 88,
419                                                 Z.                                  W.                             Unknown                    William          Michael       Weems                        United States 9/11/01                NY (UA175)    03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
420                                                 Kristen               E.            Whalen                         Unknown                    Meredith         Lynn          Whalen                       United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 4701      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
421                                                 Patricia              J.            Whalen                         United States              Meredith         Lynn          Whalen                       United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 4700      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
422                                                 Alfred                L.            Whelan               Sr.       Unknown                    Eugene                         Whelan                       United States 9/11/01                NY (Other)    03-cv-9849                 26, 29, at 4708      Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
423                                                 Elaine                              Clancy                         Unknown                    Kenneth          Wilburn       White                        United States 9/11/01                NY (WTC)      03-cv-9849                 232, at P4019        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
424                                                 Ruth                  S.            Koch                           Unknown                    Leslie           Ann           Whittington                  United States 9/11/01                VA (AA77)     03-cv-9849                 232, at P4024        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at P4032,
                                                                                                                                                                                                                                                                                            8393-1, at 54,
425                                                 A.                                  W.                             Unknown                    Mary                           Wieman                       United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at P4032,
                                                                                                                                                                                                                                                                                            8393-1, at 54,
426                                                 C.                                  W.                             Unknown                    Mary                           Wieman                       United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            232, at P4032,
                                                                                                                                                                                                                                                                                            8393-1, at 54,
427                                                 M.                    J.            W.                             Unknown                    Mary                           Wieman                       United States 9/11/01                NY (WTC)      03-cv-9849                 8487                 Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            26, 29, at 4724,
428                                                 K.                    M.            S.                             Unknown                    Glenn            E.            Wilkinson                    United States 9/11/01                NY (Other)    03-cv-9849                 8466-1, at 1, 8487   Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            26, 29, at 4724,
429                                                 C.                    E.            W.                             Unknown                    Glenn            E.            Wilkinson                    United States 9/11/01                NY (Other)    03-cv-9849                 8466-1, at 1, 8487   Child                                         $    8,500,000.00 $    25,500,000.00

                                                                                                                                                                                                                                                                                            1:02-cv-01616,
                                                                                                                                                                                                                                                                                            26, 29, at 4724,
430                                                 K.                    D.            W.                             Unknown                    Glenn            E.            Wilkinson                    United States 9/11/01                NY (Other)    03-cv-9849                 8466-1, at 1, 8487   Child                                         $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616, 1,
431                                                 Ronald                J.            Willett                        Unknown                    John             Charles       Willett                      United States 9/11/01                NY (WTC)      03-cv-9849                 at 655               Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
432                                                 George                Peter         Williamson                     Unknown                    John             P.            Williamson                   United States 9/11/01                NY (Other)    03-cv-9849                 305, at P4574        Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
433                                                 Lucy                                Williamson                     Unknown                    John             P.            Williamson                   United States 9/11/01                NY (Other)    03-cv-9849                 305, at P4573        Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616, 1,
434                                                 Arnold                R.            Wittenstein                    United States              Michael          Robert        Wittenstein                  United States 9/11/01                NY (WTC)      03-cv-9849                 at 659               Parent                                        $    8,500,000.00 $    25,500,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
435                                                 Pamela                Woodwell      Geerdes                        Unknown                    Richard          H.            Woodwell                     United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 2434      Sibling                                       $    4,250,000.00 $    12,750,000.00
                                                                                                                                                                                                                                                                                            1:02-cv-01616,
436                                                 John                  Knowles       Woodwell             III       Unknown                    Richard          H.            Woodwell                     United States 9/11/01                NY (WTC)      03-cv-9849                 26, 29, at 2433      Sibling                                       $    4,250,000.00 $    12,750,000.00




                                                                                                                                                                                             Page 18 of 19
                                                                                                         Case 1:03-md-01570-GBD-SN                                              Document 9716-3                                       Filed 04/23/24           Page 20 of 20
                                                                                                                                                                          EXHIBIT B-2
                                                                                                                                                     SOLATIUM CLAIMS UNDER THE ATA WITHOUT PRIOR JUDGMENT
              Personal Representative                                                   Claimant                                                                                          9/11 Decedent                                                                     Claim Information                                                 Solatium Damages




                                                                                                                           Nationality on 9/11




                                                                                                                                                                                                                Nationality on 9/11
                                                                                                                                                                                                                                        Date of                                            Amendments &
 #    First       Middle            Last   Suffix        claimant First        Middle        claimant Last   Suffix                              decedent First        Middle    decedent Last     Suffix                                          9/11 Site       Case       Complaint                       Relationship   Documentation   Prior Award         Amount           Treble
                                                                                                                                                                                                                                        Death                                               Substitutions



                                                                                                                                                                                                                                                                                          1:02-cv-01616,
                                                                                                                                                                                                                                                                                          432, at P4982,
                                                                                                                                                                                                                                                                                          8393-1, at 84,
437                                                 C.                    N.            Y.                            United States              Vicki            L.            Yancey                      United States 9/11/01                 VA (AA77)    03-cv-9849                 8487                Child                                         $    8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                          1:03-md-01570,
438                                                 M.                    M.            Y.                            Unknown                    Vicki            L.            Yancey                      United States 9/11/01                 VA (AA77)    03-cv-9849                 3477, at 3958       Child                                         $    8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
439                                                 Mehasen               A.            Zakhary                       Egypt                      Adel             A.            Zakhary                     United States 9/11/01                 NY (WTC)     03-cv-9849                 155, at P3171       Sibling                                       $    4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
440                                                 Nadia                 A.            Zakhary                       Egypt                      Adel             A.            Zakhary                     United States 9/11/01                 NY (WTC)     03-cv-9849                 155, at P3172       Sibling                                       $    4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616,
441                                                 Talat                 A.            Zakhary                       Egypt                      Adel             A.            Zakhary                     United States 9/11/01                 NY (WTC)     03-cv-9849                 155, at P3174       Sibling                                       $    4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616, 3,
442                                                 Carrie                              Burlock                       Unknown                    Kenneth          Albert        Zelman                      United States 9/11/01                 NY (WTC)     03-cv-9849                 at 1759             Sibling                                       $    4,250,000.00 $   12,750,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616, 3,
443                                                 Jack                                Zelman                        Unknown                    Kenneth          Albert        Zelman                      United States 9/11/01                 NY (WTC)     03-cv-9849                 at 1756             Parent                                        $    8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616, 3,
444                                                 Ruth                                Zelman                        Unknown                    Kenneth          Albert        Zelman                      United States 9/11/01                 NY (WTC)     03-cv-9849                 at 1757             Parent                                        $    8,500,000.00 $   25,500,000.00
                                                                                                                                                                                                                                                                                          1:02-cv-01616, 3,
                                                                                                                                                                                                                                                                                          at 1766, 8393-1,
445                                                 Alan                  Lemuel        Zukelman                      United States              Igor                           Zukelman                    Ukraine                    9/11/01    NY (WTC)     03-cv-9849                 at 467, 8487        Child                                         $    8,500,000.00 $   25,500,000.00




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